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                  EXHIBIT A
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 BILL A. BUSBICE, JR., an individual;
 OLLAWOOD PRODUCTIONS,LLC,
 a limited liability company; and
 ECIBSUB, LLC, a limited liability
 company

                        Plaintiffs,

                v.                                   No. 1:17-CV-1640

 ADRIAN VUCKOVICH,an individual;                     Honorable Andrea R. Wood
 COLLINS, BARGIONE & VLTCKOVICH,
 a partnership; and DOES 1-50, inclusive             Magistrate Judge Maria Valdez


                        Defendants




                                  Report of John M.Breen


  I. Curriculum Vitae

         My curriculum vitae is attached hereto as Exhibit A. Briefly put, I received my

  B.A. from the University of Notre Daine in 1985 and my J.D. from Harvard Law School

  in 1988. After graduating from law school, I clerked for Hon. Boyce F. Martin, Jr., a

 judge on the U.S. Court of Appeals for the Sixth Circuit. I then worked at Sidley &

  Austin as a litigation associate from 1989-1994. I left private practice to work as a law

  professor in 1994, teaching for two years at Detroit College of Law, and since 1996 at

  Loyola University Chicago School of Law. Every year that I have served as a law

  professor I have taught at least one course in legal ethics. From 2000-2003 I served as



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 the Reporter to the Illinois Supreme Court Committee on Professional Responsibility.

 From 1999-2004 I was one of the primary contributors to the Illinois portion of the

 American Legal Ethics Library, an online summary of the legal ethics for all fifty states

 hosted by Cornell Law School's Legal Information Institute.

 II. Materials Relied Upon

        The opinions and conclusions set forth in this Report are based upon my review of

 the following:(1) the Second Amended Complaint (hereinafter "SAC") filed in this case

(attached hereto as Exhibit B);(2) the deposition in this case of Adrian Vuckovich with

 exhibits;(3) the deposition in this case of Bridget Atherton with exhibits; (4) additional

 documents obtained through discovery in this case but not used as exhibits in depositions

(attached hereto as Exhibits C and D); (5) charts provided by          plaintiffs' forensic

 accounting expert, Joan Martin, which are all attached to Ms. Martin's expert report.

 Attached at the end of this Report as an Appendix is a list of all the documents in this

 case that I have relied upon. Moreover, these opinions and conclusions are also based on

 my legal knowledge and experience, including my knowledge of the Illinois Rules of

 Professional Conduct and the law governing lawyers.

        I reserve the right to change, amend, and/or supplement any of my opinions set

 forth in this Report, as I deem necessary, in response to new information or evidence

 made available to me, additional analysis that leads me to conclude that supplementation

 is necessary, and new issues that may arise, as well as any additional discovery,

 arguments, evidence, or testimony presented in this case. I expect to respond and provide

 additional evidence or testimony (whether during my deposition, at trial, or otherwise as




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 appropriate) in response to assertions made by the defendants, or by their experts in any

 reports or testimony given in this case.

        I am being compensated for my services with respect to this matter at a rate of

 $600.00 an hour. My compensation is in no way dependent on the outcome of the case.

 If called at trial, I expect to explain the opinions and analysis described in this Report. I

 reserve the right to use demonstratives at trial in support of my testimony.

 III. Summary of the Relevant Facts

        On May 28, 2014, plaintiffs Bill Busbice, Jr. ("Busbice"), 011awood Productions,

 LLC ("011awood"), and Ecibsub, LLC (`Bcibsub"), filed an action against defendants

 James David Williams ("Williams"), Steven J. Brown ("Brown"), Gerald R. Seppala

("Seppala"), Luxe One, Inc.("Luxe One"), Moment Factory, LLC ("Moment Factory"),

 Visions LLC ("Visions"), Legacy Film Crest, LLC ("Legacy"), Bipartisan Coalition for

 American Security Corporation ("Bipartisan"), Highgate Pass, LLC ("Highgate"),

 Garuda Partners, Ltd., as Trustee for the Mulholland Ridge Trust ("Garuda") in U.S.

 District Court for the Central District of California.      The case, Busbice, et al. vs.

  Williams, et al. (Case No. CV 14-4077 PA (AJWx)) (hereinafter the "Williams

 Complaint'), was subsequently consolidated with another matter, Bzisbice et czl. vs. Reiss

(Case No. CV 14-7063 PA (AJWx))brought by the same plaintiffs against Barry J. Reiss

("Reiss") (hereinafter the "Reiss Complaint").          The consolidated case (hereinafter

 referred to as `Busbice 1") was settled by all parties on July 30, 2015. In addition to this,

 the plaintiffs also reached an out-of-court settlement with Stuart Manashil ("Manashil")




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 without the need of filing suit.~ According to the teens of the Busbice I settlement (p.

 10), Luxe One transferred and assigned to 011awood "any and all claims, suits, causes of

 action, contract rights, intellectual property rights, insurance claims, tax refunds or

 rebates and /or any other enforcement rights and recoveries now or in the future by, for

 the account of or for the direct or indirect benefit of Luxe One." This provision forms the

 legal predicate for the present lawsuit in which Mr. Busbice, 011awood, and Ecibsub are

 suing Adrian Vuckovich and the law firm Collins, Bargione & Vuckovich for civil

 conspiracy, aiding and abetting, imposition of a constructive trust, negligence, and breach

 offiduciary duty.

        Adrian Vuckovich ("Vuckovich") is a lawyer licensed to practice law in Illinois

 and a partner in the fine of Collins, Bargione & Vuckovich (hereinafter "CB&V" ar the

 "CB&V law fine") where he has practiced law for twenty-six years(AV Dep. at 13-16).

 Mr. Vuckovich considers himself an expert in the field of legal ethics(AV Dep. at 15-

 17).

        Luxe One, Inc. ("Luxe One") is a California corporation with its principal place

 of business in Los Angeles (SAC ¶ 29)(attached hereto as Exhibit B). The purported

 purpose of this company was to provide funding with respect to the production,

 promotion, and distribution of a feature motion picture known as "The Letters"(AV Dep.

 Ex. 37).

        For purposes of this opinion, I shall assume that the allegations concerning the

 fraudulent scheme and conspiracy set forth in the SAC, in which Mr. Brown, Mr.


 ~ Although Mr. Manashil was not formally named as a defendant, Mr. Vuckovich
 represented Mr. Manashil in settlement negotiations with respect to the allegations set
 forth in the Busbice I lawsuit (Deposition of Adrian Vuckovich, taken on November 30,
 2017 and December 1, 2017(hereinafter "AV Dep.") at 32).


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 Williams, and the other Busbice I defendants and Mr. Manashil, induced Mr. Busbice to

 invest millions of dollars in the purported production and marketing of four feature-

 length films, are true. As set forth in the SAC, these four feature film projects were

 entitled "Made in America,""The Letters," "Angels Sing," and "Left Behind"(SAC ¶ 2).

 In each instance, the plaintiffs "were told that investing in each deal would bring a

 guaranteed return of capital, interest, and lucrative profit participation rights" (Id.). In

 each case, "[o]ne or snore of the co-conspirators falsely represented that they had already

 invested millions of their own money in each film," that other investors were involved in

 these projects, and that the plaintiffs "could take advantage of the lucrative deal by

 investing their own money"(Id.). To reap the benefits of this scam,"the co-conspirators

 set up and controlled a network of bank accounts and shell companies in Los Angeles —

 and used falsified monthly bank statements from those accounts — to induce Plaintiffs to

 transfer money to the co-conspirators" (Icl. ¶ 3). After securing Mr. Busbice's wire

 transfer of funds to the accounts of the purported investment entities for each of the film

 projects, "the co-conspirators transferred or deposited hundreds of thousands of dollars

 . into CBV's client trust account in Chicago" (Id. ¶ 4). Mr. Vuckovich or others at the

 CB&V law firm then either returned these funds to the co-conspirators or otherwise

 disbursed them at the direction of the co-conspirators. In doing so, Mr. Vuckovich and

 CB&V used their trust accounts to conceal the fraud with a facade oflegitimacy "cloaked

 behind a purported attorney-client relationship and privilege" (Id. ¶ 5). Mr. Vuckovich

 and the CB&V law firm were enriched for their participation in this scheme (Id.).

        Luxe One was a client of Mr. Vuckovich's and the CB&V law firm.                  Mr.

 Vuckovich represented Luxe One with respect to the Busbice I lawsuit beginning in June




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 2014. At the start of the suit Mr. Vuckovich made arrangements for the acceptance of

 service on behalf of Luxe One and the other defendants named in the Williams Complaint

(AV Dep. at 122-123, Ex. 33). Mr. Vuckovich's legal representation in the case included

 coordinating with the various individual defendants and entities named as defendants in

 Busbice I and formulating a settlement position (AV Dep. Ex. 35). Mr. Vuckovich's

 billing records indicate that even after he stepped back from the litigation, he continued

 to bill time to the matter, sending an invoice to Mr. Williams in February 2015 for work

 performed in January 2015(AV Dep. 156-158 and Ex. 40).

        Mr. Vuckovich also represented Luxe One in an arbitration against Big Screen

 Partners V, Ltd. beginning in June 2014(AV Dep. at 97-98, 152-154; Ex. 30, 37). Mr.

 Vuckovich filed the initial demand for arbitration with the American Arbitration

 Association("AAA"), but his demand was subsequently dismissed for lack of a filing fee

(AV Dep. at 128-130, 150-155; Ex. 35, 37, 38). Mr. Vuckovich filed the demand for

 arbitration without understanding the ownership structure of Luxe One, but by simply

 assuming that Mr. Williams had authority to approve the Luxe One arbitration(AV Dep.

 at 155). On the same day that Mr. Vuckovich filed his ill-fated arbitration demand, June

 17, 2014, Big Screen Partners V, Ltd. filed its demand for arbitration with the AAA,

 which Mr. Vuckovich received the following day (Vuckovich 000843-000854).2 In the

 arbitration demand, Big Screen alleged that Luxe One had engaged in breach of contract

 and fraud, including the misappropriation of Luxe One funds for Mr. Williams' personal

 use. Mr. Vuckovich continued to bill time to the Luxe One arbitration matter involving

 Big Screen through July 2014 (AV Dep. Ex. 38).            On September 17, 2014, Mr.


 2 Any document produced by Vuckovich and/or CB&V and not cited as a deposition
 exhibit, but cited and relied upon in this Report, is attached hereto as Exhibit C.


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 Vuckovich eventually handed off the representation of Luxe One in the Big Screen

 arbitration to Mr. John Burgee (Vuckovich Nos. 000222-000223). Mr. Vuckovich's

 representation of Luxe One may have continued after this point as Mr. Vuckovich

 informed Mr. Burgee that, going forward, he was "happy to help in any way that I can"

(Id.).

         Luxe One features prominently in the fraudulent scheme and conspiracy that is at

 the heart of Busbice I and the present lawsuit (See AV Dep. Ex. 26 and SAC ¶¶ 28-31,

 35-38, 45-50). This fraudulent scheme and conspiracy worked to convert funds that Mr.

 Busbice had intended for investment purposes, and to enrich the defendants and their

 fellow co-conspirators. The materials that I have reviewed show that Mr. Vuckovich and

 the CB&V law firm handled a number of items that indicated on their face that they were

 from Luxe One, or that can be directly traced to Luxe One bank accounts.              Mr.

 Vuckovich and the CB&V law fine received these items, deposited them in their

 accounts, and distributed the funds represented by these items as directed by Mr. Brown.

(See, e.g., AV Dep. Ex. 122, 124, Vuckovich 000037,000962, 000963, 000966, 000967).

         Mr. Vuckovich did this not only following his receipt of the allegations of the

 Williams Complaint filed in Bz~sbice I, and the demand for arbitration filed by Big Screen

 Partners V, Ltd. He also did this following his receipt of a July 3, 20141etter from David

 Steinberg (AV Dep. Ex. 28), an attorney at Dentons Canada LLP representing Left

 Behind Investments, LLC, the producer of the motion picture, "Left Behind," one of the

 films into which Mr. Busbice had been induced to invest through the Busbice I

 defendants. In this July 3, 20141etter, addressed to Mr. Williams, Mr. Steinberg refers to

 "numerous breaches and other significant instances of illegal behavior and wrongdoing to
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 justify your removal in all respects from this project." (Id.). Significantly, some of the

 allegations of wrongdoing set forth in the Dentons letter involve Luxe One.

 IV. Summary of the Applicable Legal Standards

        In order for a plaintiff to recover damages in a lawsuit alleging legal malpractice

 against his or her former lawyer, the plaintiff must show that the lawyer owed a duty to

 the client, that the lawyer breached this duty by failing to meet the standard of care, and

 that this breach caused injury to the client. Similarly, in order for a plaintiff to recover

 damages in a lawsuit for breach of fiduciary duty, the plaintiff must show that the

 defendant owed the plaintiff a fiduciary duty, that the duty was breached, and that the

 breach proximately caused the injury for which the plaintiff seeks redress. In Illinois, a

 fiduciary duty is present as a matter of law where an attorney-client relationship exists.

 As a fiduciary, a lawyer is obliged to act for the benefit of his or her client in good faith,

 and with loyalty, honesty, and diligence.

        Every lawyer licensed to practice law in the State of Illinois is subject to the

 Illinois Rules of Professional Conduct (the "Illinois Rules" or the "IRPC"). The IRPC

 are not in and of themselves a source of civil liability, but Illinois courts often consider

 the IRPC as persuasive authority in determining the relevant standard of care in cases

 alleging legal malpractice and breach offiduciary duty.

        In 1990 the Illinois Supreme Court adopted the IRPC, modeled after the

 American Bar Association's Model Rules of Professional Conduct (the "ABA Model

 Rules").3 In 2009 the Illinois Supreme Court adopted a revised IRPC based upon a



 3 The IRPC replaced the Illinois Code of Professional Responsibility(the "Illinois Code"
 or the "ICPC"). This earlier set ofrules was likewise based on the American Bar
 Association's Model Code of Professional Responsibility(the "ABA Model Code").
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  revision of the ABA Model Rules promulgated by the American Bar Association. This

  revised set of rules became effective in January 2010. The two versions of the IRPC —

  the 1990 version and the 2010 version —differ in a number of details but are substantially

  similar. One major difference between the two sets of rules is that in adopting the revised

  IRPC, the Supreme Court also adopted a set of explanatory comments to aid lawyers in

  their interpretation of the rules. The original IRPC from 1990 had no such coimnents.

  However, in interpreting the earlier version of the IRPC, courts in Illinois often made use

  of the coimnents accompanying the ABA Model Rules.

         To properly assess whether Mr. Vuckovich and the CB&V law firm met the

  standard of care and satisfied their fiduciary obligations in their representation of Luxe

  One, the IRPC are persuasive authority. My conclusions and opinions are limited to an

  evaluation of Mr. Vuckovich's and the CB&V law firm's conduct as attorneys under the

  IRPC and the law governing Illinois attorneys.

  V. Conclusions and Opinions

  A.     Because Mr. Vuckovich and the CB&V Law Firm Had Actual Knowledge of
  the Fraudulent Scheme to Defraud Mr. Busbice, They Failed to Satisfy the Duty of
  Care and the Fiduciary Duties They Owed to Their Client, Luxe One

         I have been asked to opine on the conduct of Mr. Vuckovich and the CB&V law

  firm with respect to the duty of care and the fiduciary duties that they owed to their client,

  Luxe One, whom they represented from June 2014 to at least September 2014. For

  purposes of this portion of my Report, I have assumed that the allegations set forth in

  Plaintiffs' Second Amended Complaint concerning Mr. Vuckovich's and the CB&V law

  firm's actual knowledge of the fraud perpetuated by the Busbice I defendants and Mr.

  Manashil on Mr. Busbice and his companies, 011awood Productions and Ecibsub, are




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  true. I note, in this regard, that although the present lawsuit began in November 2015,

  and that an initial and two amended complaints have been filed, and that discovery is now

  closing, the defendants have yet to file an answer in the case. Indeed, I have formulated

  the opinions set forth in this part of my Report with the confident expectation that the

  trier of fact in the instant case will find that Mr. Vuckovich and the CB&V law firm had

  actual knowledge of the fraud and conspiracy alleged in this lawsuit.

         With this assumption in mind, based upon my knowledge of the Illinois Rules of

  Professional Conduct and the other law governing Illinois attorneys, it is my professional

  opinion that Mr. Vuckovich and the CB&V law firm violated the duty of care and the

  fiduciary duties that they owed to their client, Luxe One.

         Rule 1.2(d) of the IRPC provides in pertinent part that "[a] lawyer shall not

  counsel a client to engage, or assist a client, in conduct that the lawyer knows is criminal

  or fraudulent." IRPC 1.2(d) contains a number of exceptions to this general prohibition,

  none of which appear to apply in this case.4 Rule 1.0(fl of the IRPC provides that a

  lawyer "knows" something when he or she has "actual knowledge of the fact in

  question," but further provides that "[a] person's knowledge inay be inferred from the

  circumstances."




  4 That is, IRPC 1.2(d) allows a lawyer to "discuss the legal consequences of any proposed
  course of conduct with a client," to "counsel or assist a client to make agood-faith effort
  to determine the validity, scope, meaning or application ofthe law," and to "counsel or
  assist a client in conduct expressly permitted by Illinois law that may violate or conflict
  with federal or other law." There is no evidence in the materials that I have reviewed that
  Mr. Vuckovich or anyone at the CB&V law firm consulted Mr. Brown, Mr. Williams, or
  any ofthe other defendants in Busbice I about the consequences or legality ofthe
  fraudulent scheme in which they induced Mr. Busbice to invest millions of dollars in the
  purported production and marketing of feature films.


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         Similarly, Rule 8.4 of the IRPC provides that it is professional misconduct for a

  lawyer to "commit a criminal act that reflects adversely on the lawyer's honesty,

  trustworthiness, or fitness as a lawyer in other respects"; to "engage in conduct involving

  dishonesty, fraud, deceit, or misrepresentation"; and to "engage in conduct that is

  prejudicial to the administration ofjustice."

         The failure of Mr. Vuckovich and the CB&V law firm to satisfy these standards

  in their representation of Luxe One was egregious. This is all the more remarkable given

  that Mr. Vuckovich considers himself to be an expert in the field oflegal ethics(AV Dep.

  at 15-17). It is a fundamental professional obligation of every attorney to uphold the rule

  of law. Every attorney is duty bound to counsel and encourage his or her clients to

  comply with the law and to discourage client actions that would constitute a crime or a

  fraud. Moreover, whenever a client proposes some conduct that is illegal or fraudulent in

  nature for which the client seeks the lawyer's assistance, the lawyer must steadfastly

  decline. As the comments following Rule 1.2(d) make plain, the lawyer "must avoid

  assisting the client' by advancing the wrongful conduct, or "by suggesting how the

  wrongdoing might be concealed." IRPC 1.2, cmt. 11.

         The fraudulent scheme and conspiracy set forth in Bz~sbice I and in the Second

  Amended Complaint in the instant case are paradigmatic of the fraudulent and illegal

  activity contemplated by Rules 1.2(d) and 8.4. It is absolutely impermissible for any

 lawyer to knowingly take part in such an illegal venture. The heart of the fraudulent

 scheme and conspiracy described above is the subject of a federal criminal investigation

 and a series of indictments and other documents alleging wire fraud, conspiracy to

 commit wire fraud, and money laundering (See, e.g., AV Dep. Ex. 15, Ex. 16). Indeed,




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  Mr. Williams has already pled guilty to this scheme (AV Dep. Ex. 17 and Ex. 18) and

  Mr. Brown stands at risk of legal jeopardy, facing the possibility of imprisonment for

  many years (See, e.g., U.S. v. Steven Brown (Superseding Indictment, U.S. Dist. Ct.

  S.D.N.Y., No. S6 16 Cr. 436, Dec. 7, 2017). Moreover, it is my understanding that the

 law firm referred to the original indictment and subsequent indictments concerning this

 scheme is the CB&V law finn.5

         Because Mr. Vuckovich and the CB&V law firm had knowledge of this

 fraudulent scheme, neither Mr. Vuckovich nor his law fine could participate in the

 transactions that furthered the scheme and aided in its concealment. In satisfying the

 standard of care that he owed to his client, Luxe One, Mr. Vuckovich could not receive

 fraudulently obtained monies, deposit those monies in his trust accounts, and then

  disbursed those monies for the benefit of his fellow co-conspirators. As an attorney who

  owed fiduciary duties to his client, Luxe One, Mr. Vuckovich could not take possession

  of monies from Luxe One (who obtained those monies fraudulently from Mr. Busbice)

  and conceal the origin and whereabouts of those funds under the ostensible cloak of

  legitimacy provided by the use his lawyer trust accounts.

         The law that governs the conduct of Illinois attorneys required Mr. Vuckovich

  and the CB&V law firm to act in a very different manner from the way in which they

  conducted themselves. That is, to fulfill both the standard of care that they owed to Luxe



 5 Remarkably, Mr. Vuckovich claims that in reading the original indictment filed against
 Mr. Williams, Mr. Brown, and Mr. Seppala in U.S. District Court for the Southern
 District of New York(AV Dep. Ex. 15), he did not understand "Victim-1" to refer to Mr.
 Busbice(AV Dep. at 40-41). He also claims not to understand that the law firm referred
 to in paragraph 16 of the original indictment refers to the CB&V law firm (AV Dep. at
 41-42).



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  One as its counsel, as well as the fiduciary obligations they owed to their client, Mr.

  Vuckovich and the CB&V law firm were required to adopt a very different course of

  action than the one they pursued.

         First, certain special duties were incumbent upon Mr. Vuckovich and the CB&V

 law firm because their client, Luxe One, is a corporation, that is, an organizational client.

 IRPC 1.13(a) makes clear that a lawyer for an organizational client (such as a

  corporation) represents the entity itself, and not the individuals who own the entity or

 those work on its behalf (e.g. shareholders, officers, directors, and employees).

  Nevertheless, the lawyer must work through these individuals in advancing the interests

  of his or her client, that is, the entity. Thus, IRPC 1.13(a) provides that "[a] lawyer

  employed or retained by an arganization represents the organization acting through its

  duly authorized constituents." It may, however, be the case, that a constituent for the

  organization is acting in a way that is harmful to the organization's interests. IRPC

  1.13(b) addresses this situation. It provides:

         If a lawyer for an organization knows that an officer, employee or other
         person associated with the organization is engaged in action, intends to act
         or refuses to act in a matter related to the representation that is a violation
         of a legal obligation to the organization, or a crime, fraud or other
         violation of law that reasonably might be imputed to the organization, and
         that is likely to result in substantial injury to the organization, then the
         lawyer shall proceed as is reasonably necessary in the best interest of the
         organization. Unless the lawyer reasonably believes that it is not
         necessary in the best interest of the organization to do so, the lawyer shall
         refer the matter to higher authority in the organization, including, if
         warranted by the circumstances, to the highest authority that can act on
         behalf ofthe organization as determined by applicable law.


  Under the assumption operative in this portion of the Report, under IRPC 1.13, Mr.

  Vuckovich knew that Mr. Brown was engaged in "a violation of a legal obligation to the




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  organization," that is, Mr. Brown's fiduciary obligation to Luxe One. Mr. Vuckovich

  also knew that this violation of Mr. Brown's fiduciary duty was "likely to result in

  substantial injury to the organization." That is, he knew that Mr. Brown was using the

  assets of Luxe One for Mr. Brown's personal benefit, and that this was harmful to Luxe

  One whose monies were to be devoted to the production and marketing of the film "The

  Letters."

         Similarly, under the assumption operative in this portion of the Report, Mr.

  Vuckovich knew that Mr. Brown was engaged in "a crime, fraud, or other violation of

  law that reasonably might be imputed to the organization" and that these actions were

 "likely to result in substantial injury to the organization." That is, Mr. Vuckovich knew

  that Mr. Brown was engaged in wire fraud, conspiracy to commit wire fraud, and money

  laundering, and that these wrongful acts could be imputed to Luxe One.

         With this knowledge in hand, Mr. Vuckovich should have proceeded as was

 "reasonably necessary in the best interest of the organization." This ethical duty required

  Mr. Vuckovich to share this information with "the highest authority that can act on behalf

  of the organization." Under the circumstances, this "highest authority" was the board of

  directors of Luxe One, Inc. It is my understanding that, during the time in question, Mr.

  Busbice, through his company 011a Productions, LLC (now 011awood Productions,

  LLC), was one of Luxe One's three shareholders, and that Mr. Busbice served on Luxe

  One's board of directors.

         Mr. Vuckovich failed to act in accordance with the standards set forth in IRPC

  1.13. He failed to act in the best interests of Luxe One. On the contrary, he acted in

  accord with the wishes of Mr. Brown and his fellow co-conspirators. Mr. Vuckovich




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  continued to participate in the fraudulent scheme and conspiracy that converted the

  monies Mr. Busbice had invested in Luxe One, for the use and enjoyment of Mr.

  Vuckovich, the CB&V law firm and their fellow co-conspirators.

          Second, Rule 1.4 of the IRPC sets forth an attorney's ethical duty to communicate

  with his or her client. IRPC 1.4(a)(5) provides that a lawyer should "consult with the

  client about any relevant limitation on the lawyer's conduct when the lawyer knows that

  the client expects assistance not permitted by the Rules of Professional Conduct or other

  law." Indeed, such a consultation is already anticipated by the comments that accompany

  Rule 1.2(d).6 As Rules 1.2(d) and 8.4 and other law make clear, an Illinois lawyer is not

  permitted to participate in a scheme involving wire fraud, conspiracy to commit wire

  fraud, and money laundering. As Rules 1.2(d) and 8.4 and other law make clear, an

  Illinois lawyer is not permitted to assist his or her client in the furtherance or concealment

  of a fraudulent conspiracy to siphon monies off from a legitimate investment and

  wrongfully direct those monies toward the personal benefit of others.

         IRPC 1.4(a)(5) required Mr. Vuckovich to communicate with Mr. Brown

  concerning Mr. Vuckovich's inability, under the ethics rules and other law, to assist Mr.

 Brown in the use of Luxe One as a source of fraudulently obtained monies and the

 laundering of those monies for the benefit of Mr. Brown and others. IRPC 1.4(a)(5)

 required Mr. Vuckovich to communicate with Mr. Brown concerning Mr. Brown's

 breach of the fiduciary duties he owed to Luxe One.




 6 See IRPC 1.2, cmt. 14("If a lawyer comes to know or reasonably should know that a
 client expects assistance not permitted by the Rules of Professional Conduct or other law
 or if the lawyer intends to act contrary to the client's instructions, the lawyer must consult
 with the client regarding the limitations on the lawyer's conduct. See Rule 1.4(a)(5).").


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         The result of having such a candid conversation with Mr. Brown would have led

  an honest and competent lawyer to conclude that he could not continue with the

  representation of Luxe One. IRPC 1.16(a)(1) provides that an attorney must decline the

  prospective representation of a client or withdraw from a representation that has already

  begun where "the representation will result in violation of the Rules of Professional

  Conduct or other law." Rule 1.2(d)(4) already anticipated this outcome. As cormnent 11

  to IRPC 1.2 snakes clear, "[a] lawyer inay not continue assisting a client in conduct that

  the lawyer originally supposed was legally proper but then discovers is criminal or

  fraudulent. The lawyer must, therefore, withdraw from the representation of the client in

  the matter. See Rule 1.16(a)."

         As the comment goes on to say, however, "withdrawal alone might be

  insufficient. It may be necessary for the lawyer to give notice of the fact of withdrawal

  and to disaffirm any opinion, document, affirmation or the like." IRPC 1.2, cmt. 11. The

  comment then cites to IRPC 4.1, which provides that, in the course of representing a

  client, a lawyer shall not knowingly "fail to disclose a material fact when disclosure is

  necessary to avoid assisting a criminal or fraudulent act by a client, unless disclosure is

  prohibited by Rule 1.6." Rule 1.6 of the IRPC would not have prohibited Mr. Vuckovich

  from disclosing the facts of the fraudulent scheme and conspiracy to Mr. Busbice. On the

  contrary, IRPC 1.6(b) provides that a lawyer "may reveal information relating to the

  representation of a client to the extent the lawyer reasonably believes necessary" to

  prevent the client "from committing a crime," or to prevent or rectify a fraud by the client

  that has resulted in or is "reasonably certain to result in substantial injury to the financial




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 interests or property of another and in furtherance of which the client has used or is using

 the lawyer's services."

        Mr. Brown used Mr. Vuckovich's services to substantially injure the financial

 interests of Luxe One (and thus Mr. Busbice), and under the assumption operative in this

 portion of the Report, Mr. Vuckovich knowingly employed his services in furtherance of

 this fraudulent scheme and conspiracy. As per IRPC 1.4, an honest and competent

 lawyer would have had a candid conversation with Mr. Brown about how he could not, as

 a matter of professional responsibility, continue with the representation.       Since the

 representation had already begun, as per IRPC 1.16, an honest and competent lawyer

 would have withdrawn from the representation in order to avoid furthering this fraudulent

 scheme and conspiracy. More than this, an honest and competent attorney would have

 had to withdraw from the representation of Luxe One even if Mr. Brown had promised

 that the fraudulent scheme and conspiracy was all in the past. This is because continued

 representation would have worked to conceal the fraud that had already taken place.

 Indeed, as per IRPC 4.1 and 1.6, an honest and competent attorney would have disclosed

 the facts concerning the fraudulent scheme and conspiracy to Mr. Busbice.

         Mr. Vuckovich and the CB&V law firm failed to satisfy all of these duties of

  professional responsibility and in so doing violated both the standard of care and the

 fiduciary duties that they owed to Luxe One.




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 B.     Because Mr. Vuckovich and the CB&V Law Firm Suffered From a Conflict
 of Interest, They Failed to Satisfy the Duty of Care and the Fiduciary Duties They
 Owed to Their Client, Luxe One

         In this portion of the Report, I have not assumed that Mr. Vuckovich and the

 CB&V law firm had actual knowledge of the fraudulent scheme in which Mr. Brown,

 Mr. Williams, Mr. Manashil and the other Busbice I defendants induced Mr. Busbice to

 invest millions of dollars in the purported production and marketing of feature films.

 Even absent this assumption, it is still my professional opinion, based on my knowledge

 of the Illinois Rules of Professional Conduct and the other law governing Illinois

 attorneys, that Mr. Vuckovich and the CB&V law fine violated the duty of care and the

 fiduciary duties that they owed to their client, Luxe One.

         Rule 1.7(a) of the IRPC provides that "a lawyer shall not represent a client if the

 representation involves a concurrent conflict of interest." Rule 1.7(a)(2) further provides

 that a lawyer suffers from a "concurrent conflict of interest"~ when "there is a significant

  risk that the representation of one or more clients will be materially limited by the

  lawyer's responsibilities to another client, a former client or a third person or by a

  personal interest of the lawyer."

         The purpose behind IRPC 1.7(a)(2) is to help safeguard an attorney's loyalty to

  his or her client and so protect the quality of the representation.          Rule 1.7(a)(2)

  recognizes that it is the fundamental obligation of every attorney to exercise independent

  professional judgment in the service of his or her client, and to act with zeal and diligence

  to further the client's interests. A lawyer should not be dissuaded from pursuing those

  interests out of concern for someone else. As comment 8 to IRPC 1.7 explains, "a


  ~ In addition, IRPC 1.7(a)(1) provides that a lawyer suffers from a "concurrent conflict of
  interest' when "the representation of one client will be directly adverse to another client."
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 conflict of interest exists if there is a significant risk that a lawyer's ability to consider,

 recommend, or carry out an appropriate course of action for the client will be materially

 limited as a result of the lawyer's other responsibilities or interests." The concern is that

 these rival responsibilities and interests will "in effect foreclose[] alternatives" with

 respect to the attorney's advice and actions "that would otherwise be available to the

 client." Id. In determining whether a lawyer suffers from a material limitation "[t]he

 critical questions are the likelihood that a difference in interests will eventuate and, if it

 does, whether it will materially interfere with the lawyer's independent professional

 judgment in considering alternatives or foreclose courses of action that reasonably should

 be pursued on behalf ofthe client." Id.

         Rule 1.7(b) allows for the possibility of avoiding a conflict of interest due to a

 "material limitation." That is, Rule 1.7(b) provides that even where a lawyer may be

 "materially limited" due to his or her responsibilities to another client, a former client, a

 third-party, or the lawyer him-or-herself, the lawyer may go forward with the

 representation if the lawyer "reasonably believes" that he or she "will be able to provide

 competent and diligent representation to each affected client" and "each affected client

 gives informed consent."

         With respect to IRPC 1.7(a)(2), Mr. Vuckovich and the CB&V law firm were

 materially limited in their representation of Luxe One. Mr. Vuckovich placed the

 interests of his longstanding friend and client, Mr. Brown, ahead of the interests of his

 corporate client, Luxe One. Moreover, it is also the case that Mr. Vuckovich placed his

 personal financial interests, and those of his firm, ahead ofthe interests of his client, Luxe

 One. As a result, Mr. Vuckovich did not provide Luxe One with the independent




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   professional judgment to which it was entitled. Mr. Vuckovich was unable to consider,

   recommend, or carry out a variety of different courses of action in seeking to advance the

   interests of Luxe One. This material limitation is evident throughout the materials that I

   have reviewed — in what Mr. Vuckovich did and didn't do when confronted with credible

   information of illegality and serious impropriety on behalf of Mr. Brown, Mr. Williams

   and others, from a variety of sources. Furthermore, Mr. Vuckovich made no effort to

   discern that a conflict of interest was in fact present under IRPC 1.7(a)(2), let alone

   obtain informed consent from 'the affected clients under IRPC 1.7(b). Because Mr.

   Vuckovich and the CB&V law finn suffered from a "material limitation" under IRPC

   1.7(a)(2), they failed to comply with the applicable standard of care and their fiduciary

   obligations in their representation of Luxe One.

          Courts often examine the nature and duration of the relationship that a lawyer has

   with an individual in order to determine if it was the source of a material limitation. Mr.

   Vuckovich and the CB&V law firm had a longstanding relationship with Mr. Brown.

   Mr. Vuckovich has known Mr. Brown since the mid-1980s(AV Dep. at 32). Thus, his

   relationship with Mr. Brown long predates the creation of Luxe One as an entity. Mr.

   Vuckovich is also friends with Mr. Brown's older brother, Marc(AV Dep. at 32-33). Mr.

   Vuckovich has represented Steven Brown approximately 10-15 times, and he has

   represented entities in which Mr. Brown held an interest or was the controlling member

   or contact person (AV Dep. at 33-34). He also represented Mr. Brown in obtaining a

   divorce (AV Dep. at 35).        As Mr. Vuckovich explained, commenting on their

   relationship: "We've known each other a long time and we'd talk about different things,

   and that's just the way it worked"(AV Dep. at 267). By contrast, it is my understanding




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 that Mr. Vuckovich has never inet or had a personal or individual relationship with Mr.

 Busbice, one ofthree shareholders in Luxe One and the company's sole investor.

        During his representation of Luxe One from June to September of 2014, Mr.

 Vuckovich became aware of serious allegations of wrongdoing leveled against Mr.

 Brown, Mr. Williams, and other individuals, as well as Luxe One itself and various other

 companies affiliated with these individuals. Yet, to any reasonable observer, his response

 was an exercise in studied indifference — an apparently calculated lack of curiosity in the

 face of claims that any reasonably honest and competent lawyer would have known

 demanded attention and investigation. In failing to conduct an investigation into these

 matters and in continuing to follow Mr. Brown's instructions as before with respect to the

 disbursement of funds received by the CB&V law firm, Mr. Vuckovich and the law fine

 failed to satisfy the standard of care and violated their fiduciary duties to Luxe One.

        Mr. Vuckovich received a copy of the Willic~ms Complaint in Bicsbice I shortly

 after it was filed, sometime in June 2014(AV Dep. at 83; Ex.26), by June 3, 2014 at the

 latest(AV Dep. at 84; Ex. 27). He testified that he may have received it from Mr. Brown

 or Mr. Williams, or perhaps from Mr. Busbice's counsel, Mr. Gale or Mr. Prouty (Id.).

 Mr. Vuckovich's testimony about a time sheet indicates that that he was involved in the

 case even before the lawsuit was filed(AV Dep. at 114-115 and Ex. 30).

        The Williams Complaint in Bz~sbice I sets forth numerous, detailed allegations

 concerning "a bold and brazen securities fraud"(AV Dep. Ex. 26 ¶ 1).           The 58-page

 complaint contains 242 paragraphs of substantive allegations prior to setting forth its

 sixteen prayers for relief. In general it alleges that Mr. Brown, Mr. Williams, Mr.

 Seppala and others "swindled Plaintiffs out $10,900,00" by "fraudulently inducing]




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  Plaintiffs to invest in companies that purported to own and/or control rights to feature

  length films, including the right to participate in the film's net revenues, and in some

  instances, the right to finance the film's marketing campaign (so-called `prints and

   advertising' or `P&A' financing) which, in addition to a priority return plus interest,

   entitled the financing company to receive a substantial interest in the film's net revenues"

  (AV Dep. Ex. 26 ¶ 2). The complaint further alleges that the arrangement was an

   enormous confidence scheme perpetrated through the use of falsified documents, and that

   the co-conspirators "secretly, wrongfully and without Plaintiffs' knowledge, siphoned

   millions of dollars to other accounts under their exclusive control and converted

  Plaintiffs' money for their own personal use" and that "almost none of the funds were

   spent on the film projects or used for the purposes for which they were intended"(AV

   Dep. Ex. 26 ¶ 5).

          Specifically, with respect to Luxe One, the Williams Complaint in Bi~sbice I

   alleges that Mr. Williams induced Mr. Busbice to initially invest a total of $6,000,000 in

   P&A financing and "finishing funds" for a film project entitled "The Letters," a feature

   film about the life of Mother Theresa. These transactions were premised on the false

   claims that Mr. Williams had already invested millions of dollars of his own money and

   that he had arranged for additional investment from other clients(AV Dep. Ex. 26 ¶¶ 36-

   42, 54-65). The Williams Complaint also explained how, when Mr. Busbice obtained

   true and correct copies of Luxe One's bank account documents, the true nature of the

   fraud was revealed(AV Dep. Ex. 26 ¶¶ 73-74)including the absence ofinvestments from

   Mr. Williams and his purported clients. The true bank statements also showed numerous

   unauthorized transfers of Luxe One funds on personal matters and matters wholly




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 unrelated to the purported investment in "The Letters," as well as the existence of a secret

 Luxe One bank account over which Mr. Brown and Mr. Williams had control(AV Dep.

 Ex. 26 ¶¶ 73-74). With "full access and control" over this account, the complaint alleges

 that Mr. Brown "essentially treated the account as his own personal piggy bank, freely

 spending the account's contents over time on unauthorized non-business items" (AV

 Dep. Ex. 26 ¶ 81).

          Mr. Vuckovich acknowledges that he represented the defendants in the Busbice I

 lawsuit, although he downplays the representation saying that it "was limited to trying to

 settle the case" and that he later discontinued the representation "for a lot of practical

 reasons or whatever" (AV Dep. at 105-106). Indeed, Mr. Vuckovich insists that he

 "never got into the facts of Busbice I"(AV Dep. at 106) though it appears that he did bill

 tune to the matter and worked to prepare an answer (AV Dep. Ex. 25). His work on

 settling the case apparently continued through January 2015 (AV Dep. at 156-158 and

 Ex. 40). Aside from the cynical explanation that he is now attempting to position himself

 in the present lawsuit, Mr. Vuckovich's effort to understate his representation of Luxe

 One is puzzling. It is difficult to understand how Mr. Vuckovich, or any lawyer, could

  competently represent the defendants in the Bzrsbice I lawsuit without investigating the

 facts behind the allegations in the complaint and attempting to ascertain the merits of the

  case. This is true even where the lawyer envisions his role as being limited to settling the

  case.

          As noted above in Section III of this Report, Mr. Vuckovich and the CB&V law

 firm were the recipients of numerous items that can be traced back to Luxe One bank




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 accounts. Mr. Vuckovich subsequently disposed of the funds represented by these items

 at Mr. Brown's direction.

        On July 12, 2013, Luxe One as remitter purchased a Chase cashier's check for

 $100,000 to the Noble Group (AV Dep. Ex 122), sometimes perhaps also referred to as

 the Noble International Group (See AV Dep. at 211). The Noble Group is an entity

 controlled by Mr. Brown (See AV Dep. at 208-209). Although ostensibly a client of the

 CB&V law firm, Mr. Vuckovich testified that he had no understanding as to the kind of

 business conducted by the Noble Group or where it operates, or how it generates revenue

(AV Dep. at 208-212). In its dealings with this entity, the CB&V law firm treated the

 Noble Group as the alter ego of Mr. Brown (See AV Dep. Ex. 61). This is the only

 reasonable way to snake sense of Mr. Vuckovich's claim that the Noble Group was not a

 client of the CB&V law firm (AV Dep. at 211), yet the company's name appears in the

 law firm's internal documents in a ledger entitled "Noble Group-Steve Brown, Client

 Fund Account'(AV Dep. Ex. 61). Similarly, with respect to another CB&V ledger

  entitled "Noble Group, Bank Leumi-Dowling Acct."(AV Dep. Ex. 63), Mr. Vuckovich

  identified the document as "a ledger of this particular bank account regarding Steve

  Brown/Noble Group"(AV Dep. at 214). Likewise, in his deposition, Mr. Vuckovich

  referred to a Noble Group cashier's check as "Steve Brown related money"(AV Dep. at

  247). Mr. Brown endorsed both a cashier's check that listed Mr. Brown as the payee and

  a cashier's check that listed the Noble Group as the payee (AV Dep. Ex. 80).




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  Accordingly, as Mr. Vuckovich explained, "Steve Brown and Noble were kind of treated

  the same within the law fine"(AV Dep. at 253-254)$

         The July 12, 2013 cashier's check from Luxe One with the Noble Group as payee

 (AV Dep. Ex. 122) was endorsed over to the CB&V law fine for deposit into the firm's

  Lawyer Trust Fund Account at Bank Leumi, No.                   701, otherwise known as

  CB&V's Account No. 701 (See AV Dep. at 196-203 and Ex. 58). The CB&V law firm

  endorsed the check but then apparently Mr. Vuckovich took personal possession of it and

  endorsed it with the bank account number of one of Mr. Vuckovich's personal accounts

  at an undisclosed bank, Account No.       719.

         In addition to this item, the CB&V law firm received other illicit checks, traceable

  back to funds that Mr. Busbice invested in Luxe One for the purpose of completing the

  production and promoting the film "The Letters," or that were drawn on a Luxe One bank

  account from funds that been wrongfully deposited in that account from the Moment

  Factory, LLC, an entity in which Mr. Busbice had invested for the purpose of supporting

  the production and promotion of another film, "Angels Sing." These items include: a

  November 4, 2013 Chase cashier's check for $50,000 listing Steven J. Brown as the

  remitter and CB&V as the payee, which CB&V deposited in its Account No. 701




   g Mr. Brown was the person who authorized the deposit offunds in CB&V's trust
   account for the Noble Group(AV Dep. Ex. 104). Other evidence in the record indicates
   that the Noble Group was in fact Mr. Brown's sole proprietorship and that he operated
   the business under other names including PR News Strategies(AV Dep. at 332-333 and
   Ex. 114). Indeed, in testifying that the notation "Noble" on a check meant "Steve
   Brown" Mr. Vuckovich explained that "to my law firm, it was the same thing"(AV Dep.
   at 355).

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 (Vuckovich 000959-000960)9; a November 25, 2013 Chase cashier's check for $50,000

 listing Steven J. Brown as the remitter and CB&V as the payee, which CB&V deposited

 in its Account No. 701 (Vuckovich 000962); a January 6, 2014 Chase cashier's check for

 $38,000 listing Luxe One Inc. as the remitter and CB&V as the payee, which CB&V

 deposited in its Account No. 701 and which CB&V credited to Mr. Brown (Vuckovich

 000963); a January 27, 2014 Chase cashier's check for $75,000 listing Steven Brown as

 the remitter and CB&V as the payee, which CB&V deposited in its Account No. 701

(Vuchovich 000966); and an April 14, 2014 Chase cashier's check for $25,000 listing

 Steven Brown as the remitter and CB&V as the payee, which CB&V deposited in its

 Account No. 701 (Vuckovich 000967).

        The CB&V law firm also subsequently disbursed these wrongfully obtained funds

 at Mr. Brown's direction. These payments include: a February 3, 2014 check for

 $138,000 drawn by Mr. Vuckovich on CB&V's Account No. 701 listing Mr. Manashil as

 the payee(AV Dep. at 345-346 and Ex. 124); and an August 26, 2014 check for $100,000

 drawn by Mr. Vuckovich on CB&V's Account No. 701 listing Mr. Manashil as the payee

(Vuckovich 000037). This second item is particularly significant in that Mr. Vuckovich

 issued it in the middle of Mr. Vuckovich's and CB&V's representation of Luxe One in

 Bz~sbice I and in the Big Screen Partners V, Ltd. arbitration.

        That is, Mr. Vuckovich paid this item (Vuckovich 000037) from Luxe One funds

 after Big Screen Partners V, Ltd. filed its demand for arbitration against Luxe One on

 June 17, 2014 (Vuckovich 000843-000854). In its arbitration demand, Big Screen



 9 This document is attached hereto as Exhibit C because it was a document produced by
 defendants, but it is also attached hereto as E~chibit D because it was produced separately
 by Bank Leumi.


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  alleged "that investors in Luxe One have also invested in other Williams entities, and that

  Williams has comingled and misappropriated funds of Luxe and such other entities"

 (Vuckovich 000844). It further alleged that Luxe One failed to provide Big Screen with a

  marketing and distribution plan with a detailed draw-down schedule, when requested

 (Vuckovich 000846), and that Luxe One had "no intention of honoring its promise" to

  provide P&A funding for "The Letters" motion picture "because Luxe intended that

 funds for the P&A Commitment be used for purposes other than P&A for the Picture,

  including personal luxury items for Williams"(Vuckovich 000847).

         Mr. Vuckovich's payment of this item (Vuckovich 000037) from Luxe One funds

  is even more troubling because it came after Mr. Vuckovich received a July 3, 2014 letter

  from David Steinberg, an attorney at Dentons Canada LLP representing Left Behind

  Investments, LLC ("LBI")(the producer of the motion picture "Left Behind"). In the

  letter, addressed to Mr. Williams, a copy of which was furnished to Mr. Vuckovich(AV

  Dep. Ex. 28), Mr. Steinberg states that "[s]ome extremely disturbing facts ...have come

  to mind in recent weeks." The letter alleges that Mr. Williams' entity, FBTR Family

  Trust, had not funded the motion picture "Left Behind" as agreed; that Mr. Williams had

  instead substituted funding from Mr. Busbice through his company 011a Productions,

  LLC; that Mr. Williams was now asserting a right to the return of excess funding actually

  belonging to 011a; and that Mr. Williams had also substituted funding owed by Mr.

  Williams' entity, Panda Media (an entity that appears to go by several names, and the

  very existence of which Mr. Steinberg doubts), by Luxe One, "a company that is

  apparently jointly controlled by Bill Busbice(who is now suing you for fraud)"(Id.). Mr.

  Steinberg concludes the letter by reminding Mr. Williams that "using investors' money




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 without their knowledge and flowing it through these entities does not constitute an early

 release of money from Panda" and that his client, LBI,"was accepting funding from you

 and your companies on the basis that it was legitimate"(Id.).

        On October 3, 2014, Mr. Vuckovich filed a lawsuit in Cook County Circuit Court

 on behalf of Panda Media Fund LLC d/b/a Panda Media Funds against Left Behind

 Investments, LLC, and several other entities involved in the production and distribution

 of the motion picture "Left Behind" (AV Dep. Ex. 23). Mr. Vuckovich based the

 allegations in the complaint on information he obtained either from Mr. Williams, Mr.

 Brown, or Mr. Reiss (AV Dep. at 68-69). Mr. Vuckovich testified that he did minimal

 work in preparing to file the Panda Media lawsuit(AV Dep. at 107). Nevertheless, the

 Panda Media complaint demonstrates that Mr. Vuckovich understood how P&A

 agreements for financing the promotion of motion pictures worked (See also AV Dep. at

 65-70) —the very business in which Luxe One was engaged. Presumably, this would also

 include the knowledge that the funds that make up a P&A coirunitinent are meant

 exclusively for the promotion of the motion picture in question, and not for the personal

 use of individuals associated with the project. Mr. Vuckovich's billing records for the

 matter state that he revised the complaint on October 2, 2014, the day before the lawsuit

 was filed (AV Dep. Ex. 24). That Mr. Vuckovich was then revising the complaint

 indicates that he performed work on the matter prior to this date, although I have not seen

 any billing records that reflect this work.     Still, this newly acquired understanding

 regarding the exclusive use of P&A funds (if it was in fact newly acquired) was roughly

 contemporaneous with Mr. Vuckovich's representation of Luxe One, which continued

 into September 2014 (Vuckovich 000222). Prior to this time, Mr. Vuckovich deposited
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   several items from Panda Media Fund, LLC, in its Lawyers Trust Fund Account,

   CB&V's Account No. 701 (AV Dep. Ex. 19, 20, 21, 22). Mr. Vuckovich claims that in

   April 2014 he had no understanding of the kind of business Panda did (AV Dep. at 57-

   58).   Mr. Vuckovich also testified that although Panda "was a Williams thing," he

  "understood Steve Brown to be the client"(AV Dep. at 44, 111).

          The serious, detailed, factual allegations of fraud and illegality against Mr.

   Brown, Mr. Williams, Luxe One and others, set forth in these various sources —the

   Busbice I lawsuit, the Big Screen Partners V, Ltd. arbitration, and the Dentons letter —

   would have prompted a reasonably competent and faithful attorney to investigate the

   claims being made and thereby learn the truth of the matter. Because Mr. Vuckovich and

   the CB&V law firm suffered from a "material limitation" under IRPC 1.7(a)(2), they did

   not seek to ascertain the truth behind these allegations in the course of their

   representation of Luxe One. Their failure to do so constituted a breach of the standard of

   care and a violation of the fiduciary duties they owed to their client, Luxe One.

          Rather than investigate the allegations of fraud and illegality, Mr. Vuckovich and

   the CB&V law firm simply assumed that the actions of Mr. Brown, Mr. Williams and

   others were entirely proper and lawful. This was true before, during, and after Mr.

   Vuckovich's representation of Luxe One. Thus, for example, on May 28, 2013, Mr.

   Vuckovich wrote Mr. Manashil a check for $75,000 drawn on CB&V's Dowling Account

   at Bank Leumi, No.            812, otherwise known as CB&V's Account No. 812(AV

   Dep. Ex. 86).10 He did so at Mr. Brown's direction(AV Dep. at 268). Likewise, on June



   to A "Dowling Account'is an interest-bearing lawyer trust fund account for funds meant
   to hold client security retainers. The name is derived from a case, Dowling v. Chicago
   Options Associates, Inc., 226 Ill. 2d 277, 875 N.E. 2d 1012(2007), in which the Illinois


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 24, 2013, Mr. Vuckovich wrote Mr. Manashil a check for $50,000 drawn on CB&V's

 Lawyers Trust Fund Account, Account No. 701 (AV Dep. Ex. 88). He did so simply at

 the direction of Mr. Brown(AV Dep. at 271). Similarly, Mr. Vuckovich testified that, at

 Mr. Brown's instruction (AV Dep. at 343), he deposited in CB&V's Lawyer Trust Fund

 Account, Account No. 701, a cashier's check for $100,000 listing Luxe One as the

 remitter and the Noble Group as the payee(AV Dep. Ex. 122). Again, on July 31, 2013,

 Mr. Vuckovich wrote Mr. Marc Brown a check for $18,000 drawn on CB&V's Lawyers

 Trust Account, Account No. 701 (AV Dep. Ex. 66). He did so at Mr. Steve Brown's

 direction (AV Dep. at 228). Likewise, on February 3, 2014, Mr. Vuckovich wrote Mr.

 Manashil a check for $138,000 drawn on CB&V's Lawyers Trust Fund Account,

 Account No. 701 (AV Dep. Ex. 124). He did so at Mr. Brown's instruction(AV Dep. at

 346). With respect to the $100,000 check from Panda Media Fund LLC to the CB&V

 law firm, dated April 12, 2014, that the firm deposited in its Lawyers Trust Fund

 Account, Account No. 701 (AV Dep. Ex. 19), Mr. Vuckovich testified that "[i]t was

 money which Steve Brown requested be placed in the trust fund account. It was Steve's

 money as I understood iY'(AV Dep. at 56). Similarly, at Mr. Brown's direction, on May

 8, 2015, Mr. Vuckovich wrote ten checks to ten different individuals (including Mr.

  Manashil and Mr. Reiss) ranging in value from $2480 to $200,000(AV Dep. Ex. 94, 95,

 96, 97, 98, 99, 100, 101, 102, 103). According to Mr. Vuckovich, he wrote the checks

 off of CB&V's trust account "because it was Brown's money and he directed that the

 checks be written" (AV Dep. at 319). Without making any inquiry, Mr. Vuckovich


  Supreme Court clarified the law regarding attorney retainers, and recognized for the first
  time the existence of advance payment retainers. In his deposition, Mr. Vuckovich
  recognized CB&V's Dowling Account as the law firm's client retainer account. (See AV
  Dep. at 12-13, 192-204).


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 simply assumed that "these were related to movies [Mr. Brown] was —had made or were

 making, was making, you know, working on"(AV Dep. at 320). The check was written

"because I was directed to write it"(AV Dep. at 321), "[b]ecause he told me" (Icy.). Mr.

 Vuckovich simply assumed that the money used to pay these checks, forwarded from a'

 Swiss bank account (AV Dep. Ex. 93) was legitimate and not the fruit of a fraudulent

 scheme. He took Mr. Brown at his word that the money "was pa}nnent in connection

 with making movies ar a movie"(AV Dep. at 323). For Mr. Vuckovich "[t]he check was

 written because I was directed to write it. That's where my knowledge ends"(AV Dep.

 at 324).   Of course, Mr. Vuckovich's knowledge ended there because he made no

 reasonable inquiry into the source of the funds even though he had been informed by

 multiple sources that Mr. Brown was at the center of a fraudulent scheme and conspiracy.

 Mr. Vuckovich made no such inquiry because of his unfailing devotion to Mr. Brown.

        The record is replete with other instances of Mr. Vuckovich's studied lack of

 curiosity in the wake of allegations of fraud against Mr. Brown and the other Busbice I

 defendants. On December 19, 2014, Thomas Prouty of Troutman Sanders, counsel for

 the plaintiffs in Busbice I, wrote to Mr. Vuckovich stating that they had learned through

 discovery in the case that the CB&V law firm had "received substantial sums of money"

 from a Luxe One bank account controlled by Mr. Williams and Mr. Brown and "funded

 entirely" by Mr. Busbice's "fraudulently induced film investments"(AV Dep. Ex. 41).

 Mr. Prouty wrote that these funds were not "being used for their intended purpose" but

 were instead being "diverted by Mr. Williams and Mr. Brown to numerous unauthorized

 third-parties, including CBV" (Id.).     The letter included copies of bank records

 supporting these claims. Mr. Prouty also asked that the CB&V law firm respond to the




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   letter in an honest and forthright manner, and he demanded that the law firm cease any

   such transfers in the future. As Mr. Vuckovich testified, however, the CB&V law firm

   did not reply to the letter (AV Dep. at 161). Moreover, in a stunning response, Mr.

   Vuckovich testified that, upon reading Mr. Prouty's letter, he did not conclude that the

   letter and enclosures described transfers of money "designed to perpetuate a fraud on Mr.

   Busbice"(AV Dep. at 161).

          Similarly, Mr. Vuckovich testified that after receiving the July 3, 2014 Dentons

   letter, questioning the actual existence of the Panda Media entity and alleging that Panda

   had failed in its obligations, he did not make any connection to his earlier receipt of a

   $100,000 check from Panda Media Fund, LLC that was deposited in his law firm's trust

   account(AV Dep. Ex. 20). According to Mr. Vuckovich "I don't recall if there was any

   reason to have a connection"(AV Dep. at 91). For Mr. Vuckovich, there was apparently

   no reason to re-examine the CB&V trust account to see whether it had been used as part

   of a fraudulent scheme. In response to the Dentons letter, Mr. Vuckovich doesn't

   remember having any concern over the letter's accusations concerning Panda Media and

   Luxe One (AV Dep. at 96). While a reasonably competent and honest lawyer would

   have been prompted to investigate these serious allegations, Mr. Vuckovich responded

   with a lack of concern and awell-practiced indifference.          Whereas a reasonably

   competent and honest lawyer would have tried to learn more, Mr. Vuckovich seems to

   have been determined to know as little as possible. This lack of knowledge was not a

   coincidence or merely accidental. It was the product of Mr. Vuckovich's devotion to Mr.

   Brown which, during Mr. Vuckovich's and the CB&V law firm's representation of Luxe

   One, constituted a material limitation under IRPC 1.7(a)(2).




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         Under IRPC 1.7(a)(2), a lawyer inay also suffer a material limitation in the

 representation of his or her client due to "a personal interest of the lawyer." In my

 opinion, Mr. Vuckovich suffered from such a material limitation in his representation of

 Luxe One. As noted above, Mr. Vuckovich and Mr. Brown have a longstanding personal

 and professional relationship. To have begun a serious inquiry to discover the truth ofthe

 matter with respect to the allegations set forth in the Busbice I lawsuit, the Big Screen

 Partners V, Ltd arbitration, and the Dentons letter would have jeopardized this

 longstanding relationship. Such an inquiry could also have jeopardized the financial

 benefit that Mr. Vuckovich and the CB&V law firm enjoyed by virtue of their

 professional relationship with Mr. Brown.

         Further evidence of Mr. Vuckovich's material limitation can be seen in the casual

 and unserious way in which he appears to approach the topic of conflicts of interest. Mr.

  Vuckovich testified that the CB&V law firm does not use a computer database to check

 for conflicts of interest when taking on a matter.      Instead, Mr. Vuckovich simply

 considers the naive of the purported client and its adversaries in a proposed lawsuit.

 Thus, in bringing suit on behalf of Panda Media against Left Behind Investments, LLC

 (AV Dep. Ex. 23), Mr. Vuckovich made no attempt to learn the identity of the members

  or owners of Left Behind (AV Dep. at 67-68). Similarly, Mr. Vuckovich summarily

  concluded that there was no conflict of interest between his clients Luxe One and Panda

  Media simply because "Panda was not suing Luxe One, and that arbitration matter

  involving Luxe One was not against Panda"(AV Dep. at 98). He did not consider that

  Luxe One's and Panda's interests might be adverse in light of the allegation that Luxe

  One had provided the money for promotion of the "Left Behind" motion picture that




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 Panda was contractually obligated to provide(AV Dep. at 98-99). Mr. Vuckovich simply

 dismissed the notion. Likewise, although Mr. Vuckovich jointly represented Mr. Brown

 and Mr. Williams in the Busbice I lawsuit, he did not carefully consider the possibility of

 a conflict of interest because "my representation was for settlement" and "[t]hey had a

 mutual interest in resolving the case"(AV Dep. at 117-118). Similarly, in filing the Big

 Screen Partners V, Ltd. arbitration on behalf of Luxe One, Mr. Vuckovich did not

 consider who the company's shareholders were, or the possibility that Mr. Williams'

 interests might not be aligned with those ofthe company(AV Dep. at 155).

        By choosing not to investigate the allegations made against his clients in the

 Busbice I lawsuit, the Big Screen Partners V, Ltd arbitration, and the Dentons letter, Mr.

 Vuckovich acted in favor of Mr. Brown and against the interests of his organizational

 client, Luxe One.     In this Mr. Vuckovich demonstrated an inability to "consider,

 recoimnend or carry out an appropriate course of action" in favor his client of Luxe One,

"as a result of[his] other responsibilities or interests," naively, those of Mr. Brown. See

 IRPC 1.7, cmt. 8. Because of the superior loyalty that Mr. Vuckovich showed to Mr.

 Brown, he was unable to exercise "independent professional judgment' on behalf of his

 corporate client, Luxe One. Id. His devotion to Mr. Brown "foreclose[d] courses of

 action that reasonably should [have been] pursued on behalf of[his other] client," Luxe

 One. Icl.

         Had Mr. Vuckovich not suffered from a conflict of interest, he would have

 conducted an investigation into the serious allegations contained in the multiple sources

 recounted above. A reasonable inquiry by Mr. Vuckovich would have revealed the illicit

 nature of the monies that had been transferred to Mr. Vuckovich and the CB&V law firm




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   as part of this fraudulent conspiracy. Once aware of these wrongful acts, as a matter of

   professional responsibility, Mr. Vuckovich would have been required to act in the same

   manner set forth above in detail in the previous section of this Report. That is, now

   having actual knowledge of the fraud, Mr. Vuckovich would have been ethically bound

   under the standard of care and the fiduciary duties he owed to Luxe One to comply with

   the various rules of attorney conduct discussed above: IRPC 1.2(d), 8.4, 1.13, 1.4, 1.16,

   and 4.1.

   C.    Mr. Vuckovich and the CB&V Law Firm Failed to Maintain Proper Records
   With Respect to Lawyer Trust Accounts, and Misused Their Trust Accounts by
   Funneling Monies Through Them Unrelated to the Provision of Any Legal Services

          I have also been asked to opine on the conduct of Mr. Vuckovich and the CB&V

   law firm concerning the obligations of Illinois attorneys with respect to attorney record

   keeping and the use of lawyer trust accounts. It is my professional opinion that Mr.

   Vuckovich and the CB&V law fine are guilty of numerous, egregious violations of the

   Illinois Rules of Professional Conduct concerning these matters. As set forth in greater

   detail below, Mr. Vuckovich and the CB&V law firm failed to satisfy the most basic

   requirements of IRPC 1.15, the rule that sets forth the obligations incumbent on all

   Illinois lawyers concerning the safe-keeping of property held by a lawyer and the

   conscientious maintenance or records with respect to that property.~ 1 Moreover, the sheer

   audacity of their actions must be seen in light of the fact that Mr. Vuckovich holds

   himself out as an expert in legal ethics(AV Dep. at 15-17).

          Rule 1.15(a) of the IRPC as adopted in 2009 and amended in 2015 provides as

   follows:


   ~ ~ A similar, though far less detailed, set of obligations with respect to attorney record
   keeping can be found in Ill. Sup. Ct. Rule 769.


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         A lawyer shall hold property of clients or third persons that is in a
         lawyer's possession in connection with a representation separate from the
         lawyer's own property. Funds shall be deposited in one or more separate
         and identifiable interest- or dividend-bearing client trust accounts
         maintained at an eligible financial institution in the state where the
         lawyer's office is situated, or elsewhere with the informed consent of the
         client or third person. For the purposes of this Rule, a client trust account
         means an IOLTA account as defined in paragraph (j)(2), or a separate,
         interest-bearing non-IOLTA client trust account established to hold the
         funds of a client or third person as provided in paragaph (~. Funds of
         clients or third persons shall not be deposited in anon-interest-bearing or
         non--dividend-bearing account. Other, tangible property shall be identified
         as such and appropriately safeguarded. Complete records of client trust
         account funds and other property shall be kept by the lawyer and shall be
         preserved for a period of seven years after termination of the
         representation.

         Maintenance of complete records of client trust accounts shall require that
         a lawyer:

               (1) prepare and maintain receipt and disbursement journals for all
                client trust accounts required by this Rule containing a record of
                deposits and withdrawals from client trust accounts specifically
               identifying the date, source, and description of each item
                deposited, and the date, payee and purpose of each disbursement;

               (2) prepare and maintain contemporaneous ledger records for all
                client trust accounts showing, for each separate trust client or
                beneficiary, the source of all funds deposited, the date of each
                deposit, the names of all persons for whom the funds are or were
                held, the amount of such funds, the dates, descriptions and
                amounts of charges or withdrawals, and the names of all persons to
                whom such funds were disbursed;

                (3) maintain copies of all accountings to clients or third persons
                showing the disbursement of funds to them or on their behalf,
                along with copies of those portions of clients' files that are
                reasonably necessary for a complete understanding of the financial
                transactions pertaining to them;

               (4) maintain all client trust account checkbook registers, check
                stubs, bank statements, records of deposit, and checks or other
                records of debits;

               (5) maintain copies of all retainer and compensation agreements
                with clients;



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              (6) maintain copies of all bills rendered to clients for legal fees and
              expenses;

              (7) prepare and maintain reconciliation reports of all client trust
              accounts, on at least a quarterly basis, including reconciliations of
              ledger balances with client trust account balances;

              (8) snake appropriate arrangements for the maintenance of the
               records in the event of the closing, sale, dissolution, or merger of a
               law practice.

               Records required by this Rule may be maintained by electronic,
               photographic, or other media provided that printed copies can be
               produced, and the records are readily accessible to the lawyer.

               Each client trust account shall be maintained only in an eligible
               financial institution selected by the lawyer in the exercise of
               ordinary prudence.

 Rule 1.15(c) ofthe IRPC further provides as follows:

               A lawyer shall deposit in a client trust account funds received to
               secure payment of legal fees and expenses, to be withdrawn by the
               lawyer only as fees are earned and expenses incurred. Funds
               received as a fixed fee, a general retainer, or an advance payment
               retainer shall be deposited in the lawyer's general account or other
               account belonging to the lawyer. An advance pa}nnent retainer
               inay be used only when necessary to accomplish some purpose for
               the client that cannot be accomplished by using a security retainer.
               An agreement for an advance payment retainer shall be in a writing
               signed by the client that uses the term "advance payment retainer"
               to describe the retainer, and states the following:

               (1) the special purpose for the advance pa}nnent retainer and an
                explanation why it is advantageous to the client;

               (2) that the retainer will not be held in a client trust account, that it
                will become the property of the lawyer upon payment, and that it
                will be deposited in the lawyer's general account;

               (3) the manner in which the retainer will be applied for services
                rendered and expenses incurred;

               (4)that any portion of the retainer that is not earned or required for
                expenses will be refunded to the client;



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                  (5) that the client has the option to employ, a security retainer,
                  provided, however, that if the lawyer is unwilling to represent the
                  client without receiving an advance payment retainer, the
                  agreement must so state and provide the lawyer's reasons for that
                  condition.

    Rule 1.15 sets forth the obligations that a lawyer must fulfill in holding the funds of

    clients ar third-parties. The Attorney Registration and Disciplinary Coininission of the

    Supreme Court of Illinois publishes a Client Tra~st Account Handbook to serve as a

   resource for Illinois attorneys in fulfilling their fiduciary responsibilities with respect to

   the care of client funds and other property.12 As the ARDC explains:

            Holding property in trust is a non-delegable personal fiduciary
           responsibility as long as that property remains in the lawyer's possession.
           This responsibility cannot be transferred and is not excused by ignorance,
           inattention, incompetence or dishonesty of the lawyer or by the lawyer's
           associates or non-lawyer employees.

   Id. at 1. In mandating the holding of client monies and other property in trust, IRPC 1.15

   helps to guard against the wrongful acts of commingling and conversion by requiring that

   the property of clients and third-parties be kept separate from that of the lawyer, and that

   these monies be accountable, and identifiable. Id. at 3-8.

           The standards for financial record keeping that a lawyer must abide by are

   detailed and exacting.    Mr. Vuckovich and the CB&V law firm failed to maintain

   contemporaneous records that were both accurate and complete, as required by Rule 1.15.

   As a general matter, Mr. Vuckovich and his colleagues did not keep careful records of the

   clients they engaged or the money they handled on behalf of these clients. Indeed, Mr.




   12 ARDC, Client Trust Account Handbook(revised Oct. 2017), available at
   https://www.iardc.org/ClientTnistAccountHandbook.pdf.
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  Vuckovich admitted that their recordkeeping was "somewhat unorganized" and "kind of

 in a mess"(AV Dep. at 214, 21 S).

         Thus, for example, a document produced by CB&V that Mr. Vuckovich identified

 as a "check ledger" indicates that it is for CB&V's Dowling Account at Bank Leumi, No.

          812, otherwise known as CB&V's Account No. 812(AV Dep. at 348-351 and

 Ex. 126). It indicates that check No. 2475 for $100,000 was paid to Mr. Manashil on

  August 26, 2014. In fact, however, this item was paid from the firm's Lawyer Trust Fund

  Account at Bank Leuini, No             701, otherwise known as CB&V's Account No.

 701 (Vuckovich 000037). The check ledger, which is heavily redacted, only four pages

  long, and lists only nine items, is incomplete in other ways. Although IRPC 1.15(a)(1)

  states that an attorney's records should indicate "the date, payee and purpose of each

  disbursement," the check ledger provides only the date and the name of the payee. It

  does not provide a purpose. Mr. Vuckovich testified that, with respect to check No.

  2475, the ledger says the purpose is "Noble Brown"(AV Dep. at 350). Those words may

  identify the client, but they do not indicate the purpose of the disbursement as the rule

  requires.13

         Another document produced by CB&V is entitled "Noble Group-Steve Brown,

  Client Fund Account"(AV Dep. at 206-212 and Ex. 61). This document contains a total

  of thirty-six entries, both deposits and disbursements. Although it lists the naives of

  payees it does not indicate the purpose behind any of these disbursements as the rule



  13 Bridget Atherton, CB&V's bookkeeper (Deposition of Bridget Atherton taken on
  February 5, 2018 (hereinafter "Atherton Dep.") at 11-13) testified that she was not aware
  of"any circumstance" when CB&V was disbursing money on a client's behalf"where
  the purpose for the transaction was not recorded in the ledger"(Atherton Dep. at 45). As
  set forth in the text above, this claim is demonstrably false.


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  requires. Moreover, the document merely states that the funds in the account derived

  from "deposits." It does not indicate the source ofthese funds as Rule 1.15 requires.

         The same could be said of the document produced entitled "Noble Group, Bank

  Leumi-Dowling Acct."(AV Dep. at 214-217 and Ex. 63). This document contains a total

  of seven entries including five checks for which it lists the payees. It does not, however,

  describe the purpose of any of these disbursements.         Furthermore, Mr. Vuckovich

  admitted that although the document ostensibly relates to the law firm's Dowling

  Account, the document indicates that funds which were not retainer funds were deposited

  into the account (AV Dep. at 216-217, 245-248, 266 and Ex. 79, 85). Again, the

  document merely states that the fitnds in the account derived from "deposits." It does not

  indicate the source of these funds as Rule 1.15 requires.

         Likewise, another document produced entitled "David Williams, Bank Leumi,

  Client Fund Retainer Acct" contains two entries, a deposit and a disbursement(AV Dep.

  at 218-220 and Ex. 64). Copies of the item deposited and the check disbursed are

  attached to the ledger. The item deposited is a Chase cashier's check for $5000 dated

  June 10, 2014, that lists Adrian Vuckovich as the remitter and the CB&V law firm as the

  payee. It is accompanied by a deposit slip indicating that the item was deposited not into

  CB&V's retainer account, as Ex. 64 indicates, but into CB&V's Client Fund Account at

  Bank Leumi, No.            001, otherwise known as CB&V's Account No. 5001, a point

  that Mr. Vuckovich conceded during his deposition (AV Dep. at 219). The check

  disbursed is No. 1113 for $5000, dated October 30, 2014, drawn on CB&V's Client Fund

  Account, Account No. 5001, to the CB&V law firm as payee. Neither the ledger nor the

  item indicate the purpose of the disbursement.




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          The CB&V law firm also manufactured a new document in response to a

   subpoena, a ledger for "Steve Brown"(AV Dep. at 212-218 and Ex. 62). The document

   contains a total of fourteen entries, including five disbursements (four to Mr. Manashil

   and one to Mr. Brown's brother, Marc). It does not, however, indicate a purpose behind

   any of these payments, contrary to what the rule requires. Mr. Vuckovich explained that

   he prepared Ex. 62 in response to a subpoena because "the records were somewhat

   unorganized, so this was an effort to provide a somewhat like, you know, slightly neater,

   organized response" (AV Dep. at 214). It was, he said, "created for the purpose of

   responding to the subpoena. I was in a hurry. The records were kind of in a mess, and I

   felt like this — so I created 62, prepared 62"(AV Dep. at 218). Mr. Vuckovich admitted

   that Ex. 62 does not contain any information not already set forth in Ex. 61 (AV Dep. at

   216). Neither document complies with the requirements of Rule 1.15.

          In addition to this, the CB&V law firm violated Rule 1.15 in other ways. On at

   least two occasions, Bridget Atherton, CB&V's bookkeeper (Atherton Dep. at 11-13),

   wrote checks to herself, signed by Mr. Bargione (Atherton Dep. at 30-32 and Ex. 132,

   133). Check No. 1049, dated December 20, 2013, for $1250, is an item issued to Ms.

   Atherton, drawn on CB&V's Dowling Account, Account No. 812 (Ex.132).                 Ms.

   Atherton had no explanation for why she was paid money from the law firm's client

   retainer account (Atherton Dep. at 30). Ex. 132 contains copies of three other checks,

   issued to Constance Lichter, Sharon Purnell, and Ms. Atherton, signed by Mr. Bargione,

   also drawn on the law firm's client retainer account. Check No. 2459, dated August 1,

   2014, for $500, is an item issued to Ms. Atherton, drawn on CB&V's Lawyers Trust

   Fund Account, Account No. 701 (Ex. 133). Ms. Atherton had no explanation for why she




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 was paid money from the law firm's trust account (Atherton Dep. at 31). Plainly, these

 payments, and the CB&V's memorialization of them, are not in compliance with Rule

 1.15.

         On at least five occasions, Mr. Vuckovich drew a check out to "cash" drawn on

 the CB&V law firm's Lawyer Trust Fund Account, Account No. 701 (Atherton Dep. at

 32-41 and Ex. 134, 135, 136, 138, 139). Mr. Bargione did the same thing on one

 occasion (Atherton Dep. Ex. 137). These checks were for substantial amounts of money,

 ranging from $1940 (Atherton Dep. Ex. 137) to $9000 (Atherton Dep. Ex. 136).

 Drawing a check to "cash" avoids the very requirements that Rule 1.15 insists upon.

 That is, the monies derived from a check made out to "cash" can be transferred to anyone

 and for any purpose. Thus, drawing such a check avoids the requirements set forth in

 IRPC 1.15. Indeed, in her deposition, CB&V's bookkeeper, Ms. Atherton, admitted that

 when she wrote these checks and got this cash she did not "snake a record in the firm's

 books as to where the funds were being disbursed"(Atherton Dep. at 41).

         In the materials that I have reviewed, numerous other irregularities appear with

 respect to CB&V's records. Mr. Vuckovich testified that monies deposited in a lawyer

 trust fund account need not be traceable to someone(AV Dep. at 56). He also testified

 that Mr. Brown's requests for deposits into CB&V's trust fund account were all made

 orally —nothing in writing (AV Dep. at 56-57). Mr. Vuckovich further testified that

 neither he nor the CB&V law firm had any "engagement letters, retainer agreements, or

 other documents reflecting the terms and scope of representation" regarding any of the

 individuals or entities involved in this lawsuit and that no such documents were ever

 created(AV Dep. at 20-21 and Ex. 11).




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         According to Mr. Vuckovich, CB&V was not required to have any documentation

 regarding fees, such as an invoice. In his representation of Panda Media Fund LLC, Mr.

 Vuckovich testified that he did not send an invoice for the legal work he performed.

 Indeed, Mr. Vuckovich testified that he received a retainer for this work but did not send

 the client a bill to show the he had applied the retainer (AV Dep. at 75-82 and Ex. 24,

 25). Mr. Vuckovich testified that he "didn't prepare specific bills for Steve Brown"(AV

 Dep. at 255). He testified that he could simply accept a check for payment of fees.

 According to Mr. Vuckovich, all that is needed is the check and a deposit slip. "Nothing

 further is required" (AV Dep. at 254).           Mr. Vuckovich further testified that the

 authorization from a client to disburse funds from a trust account need not be in writing.

 The check itself represents the authorization(AV Dep. at 228).

         Neither Rule 1.15 nor Rule 1.5 of the IRPC (the rule governing a lawyer's fees)

 requires a lawyer to send a written invoice to a client, or (aside from two discrete

  exceptions)14 to even record a client fee agreement in writing. Rule 1.5(b) provides that a

  lawyer shall communicate to the client the "scope of the representation and the basis or

  rate of the fee and expenses for which the client shall be responsible . . .preferably in

  writing." Because it is not mandatory that the communication be in writing, however,

  this rule expresses a kind of "best practice."       What is mandatory, however, is the

  requirement under Rule 1.15(a) that a lawyer maintain documents for all client trust

  accounts stating the "purpose of each disbursement." Mr. Vuckovich and the CB&V law

  firm failed to do this with respect to the disbursements at issue in this case.



  14 IRPC 1.5(c) requires a contingent fee agreement to be in writing and signed by the
  client, and IRPC 1.5(e) requires that the division of a fee between lawyers who are not in
  the wine firm must be confirmed in writing and agreed to by the client.


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          Although Mr. Vuckovich testified that all financial records concerning client

  matters are kept in paper form in CB&V's office(AV Dep. at 23) and that all documents

  responsive to plaintiffs document request were produced (AV Dep. at 24), and that no

  documents were lost or destroyed (AV Dep. at 26), I do not believe that the modest

  number of documents produced —sometimes erroneous, often incomplete —show that the

  CB&V law firm satisfied its obligations under Rule 1.15. Indeed, these few documents

  demonstrate a colossal ethical failure on the part ofthe CB&V law fine.

          Rule 1.15 sets forth a lawyer's mandatory responsibilities in holding the funds of

  clients and third-parties in connection with a legal representation. That is, Rule 1.15

  contemplates the possibility that a lawyer inay hold the "property of clients or third

   persons   . . in connection with a representation" and that this property will be held

  "separate from the lawyer's own property." IRPC 1.15(a)(emphasis added). Thus, the

   rule prescribes the use of interest-bearing client trust accounts for such property, as well

   as trust accounts for the deposit of security retainers, both of which must be maintained

   separate from the lawyer's own business and other personal accounts. See IRPC 1.15 (a)

   and (c). Similarly, Rule 1.15 and the coirunents that accompany it repeatedly refer to the

  "property of clients" and "client trust accounts," indicating the presence of an attorney-

   client relationship and the provision of legal services. Likewise, comment 5 to IRPC

   1.15 specifically notes that "[t]he obligations of a lawyer under this Rule are independent

   of those arising from activity other than rendering legal services. For example, a lawyer

   who serves only as an escrow agent is governed by applicable law relating to fiduciaries

   even though the lawyer does not render legal services in the transaction and is not

   governed by this Rule."




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         Plainly, IRPC 1.15 envisions the use of a lawyer trust account in support of an

  attorney-client relationship. As such, the rule does not contemplate the use of lawyer

  trust accounts unrelated to the provision oflegal representation. Indeed, it is improper for

  an attorney to make use of his ar her trust accounts where the monies deposited are

  unrelated to the representation of a client and the provision of legal services. It is

  likewise improper to make use of such accounts in order to conceal fraudulently obtained

  funds behind the facade of legitimacy supplied by the presumption of legal

  representation.

         The materials that I have reviewed show that Mr. Vuckovich knew that he

  frequently held funds in CB&V's trust accounts unrelated to the provision of any legal

  services and unrelated to any legal representation. Indeed, it was Mr. Vuckovich's

  routine practice to make use of CB&V's lawyer trust accounts for reasons unrelated to

  actual legal representation. According to Mr. Vuckovich "[s]oinetimes people prefer to

  have monies transacted through the lawyer than through personal accounts"(AV Dep. at

  55).15 Remarkably, Mr. Vuckovich appears to believe that this is a legitimate use of

  lawyer trust accounts: "[S]ome people want to transact their affairs through a lawyer, and

  that's another reason that a Client Fund account is used"(AV Dep. at 250).




  15 Consistent with this practice, with respect CB&V's ledger entitled "Nobel Group-Steve
  Brown, Client Fund Account"(Ex. 61), Bridget Atherton, CB&V's bookkeeper, testified
  that she was not aware of Mr. Vuckovich "performing any legal work in connection with
  the checks that were coming in and out of this account'(Atherton Dep. at 55). Although
  Ms. Atherton prepared invoices for CB&V,she had no explanation as why "there was no
  invoice ever generated for the items listed in Exhibit 61"(Atherton Dep. at 72). Ms.
  Atherton also testified that she had never seen "any documentation" reflecting that
  CB&V had been compensated "for legal work that it did" for either the Noble Group or
  Steve Brown (Atherton Dep. at 74).


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          Mr. Vuckovich attempts to justify this misuse of a lawyer trust account by snaking

  an analogy. He notes that "[i]t is not unusual for people to have money directed to a

  lawyer's client fund account rather than to themselves. Every personal injury case settles

  in that maruier"(AV Dep. at 54-55). Of course, in the example Mr. Vuckovich cites —

  insurance proceeds in a personal injury suit —the insurance company is involved in the

  case (albeit not always as a party), and the insurance funds that the lawyer takes

  possession of and holds in trust are related to his or her legal representation of a client in

  the matter. The same cannot be said of Mr. Vuckovich or the CB&V law firm. The

  funds that Mr. Vuckovich and the CB&V law firm received were often unrelated to any

  legal representation they had undertaken. Indeed, Mr. Vuckovich testified with respect to

  numerous checks deposited in the firm's trust accounts, that they did not relate to any

  legal services undertaken or performed. Instead, the CB&V trust accounts were simply

  used as platform from which Mr. Brown could distribute money under the presumed

  legitimacy of an ostensible attorney-client relationship.

          Thus, for example, on May 4, 2015, the CB&V law firm received a wire transfer

  of $300,000 from a Swiss bank that was deposited in its Lawyers Trust Fund Account,

  Account No. 701 (See AV Dep. Ex.93). On May 8, 2015, Mr. Vuckovich wrote ten

  checks to ten different individuals on CB&V's Lawyers Trust Fund Account, Account

  No. 701, making use of this money (See AV Dep. Ex. 94, 95, 96, 97, 98, 99, 100, 101,

   102, 103). Yet Mr. Vuckovich testified that with respect to facilitating these transactions,

  CB&V performed no legal work and was not compensated for its check writing (AV

  Dep. at 338).




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         Likewise, with respect to the July 12, 2013 Chase cashier's check for $100,000

  listing Luxe One as the remitter the Noble Group as the payee (AV Dep. Ex 122), Mr.

  Vuckovich testified that he was "not performing any legal services" with respect to the

  item and the attempted deposit of it in CB&V's trust account, and the eventual deposit of

  the item in Mr. Vuckovich's personal account(AV Dep. at 343-344).16

         Similarly, on May 18, 2015, CB&V received $250,000 wired into its Lawyers

  Trust Fund Account, Account No. 701, from a Swiss bank account(AV Dep. Ex. 106).

  On May 21, 2015, Mr. Vuckovich wrote four checks drawing on these funds to four

  different individuals (including Mr. Manashil) totaling almost $100,000 (See AV Dep.

  Ex. 107, 108, 109, 110). Then that same day, CB&V wired the remaining $150,000 to a

  New York bank for the benefit of Bade LLC(AV Dep. 111).

         Likewise, on June 1, 2015, CB&V received $50,000 wired into its Lawyers Trust

  Fund Account, Account No. 701, from a Swiss bank account(AV Dep. Ex. 112), and two

  days later, June 3, 2015, CB&V wired this money to a New York bank for the benefit of

  PR News Strategies LLC(AV Dep. 113), asole-proprietorship of Mr. Brown's(AV Dep.

  Ex. 114). Similarly, on June 18, 2015, CB&V received $250,000 wired into its Lawyers

  Trust Fund Account, Account No. 701, from a Swiss bank account(AV Dep. Ex. 115),

  and on the very next day, June 19, 2015, CB&V wired this money to a New York bank,

  again for the benefit ofPR Strategies LLC(AV Dep. 116).




  ~ 6 If these monies truly represented client trust funds, then their deposit in Mr.
  Vuckovich's personal account constitutes conversion. If these monies were in fact the
  property of Mr. Vuckovich, then his attempt to deposit them in his law firm's trust fund
  account was an effort to comingle funds. Both ofthese actions are violations ofIRPC
  1.15.


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         The materials that I have reviewed indicate that Mr. Vuckovich did perform some

  legal services: representation of the defendants in both the Bzcsbice I lawsuit and the Big

  Screen Partners V, Ltd. arbitration, and perhaps some work relating to the purchase of a

  condominium in Santa Monica.~~ However, nothing in the record suggests that CB&V

  performed any legal services with respect to any of the funds described above.~ g The

  CB&V trust account simply served as a conduit for cash. All of this is, of course,

  contrary to the express language of Rule 1.15(a), which identifies monies held in a client

  trust account as necessarily being held "in connection with a representation." In response

  to this, however, Mr. Vuckovich simply asserts: "Sometimes monies come in that are in

  connection with a legal matter. Sometimes people prefer to have monies transacted

  through the lawyer than through personal accounts. There was nothing unusual about this

  to ine at the time"(AV Dep. at 55-56). Perhaps there was nothing unusual about these

  sorts of practices occurring at the CB&V law firm. But there surely was something

  deeply unethical about these practices.




  ~~ In making this observation, I am not commenting on the ethics or the quality ofthe
  representation provided by Mr. Vuckovich and the CB&V law firm in any ofthese
  matters. As should be clear from Section V,Part B of my Report, it is my professional
  opinion that Mr. Vuckovich and the CB&V law firm suffered from a grave conflict of
  interest that severely impaired their representation of Luxe One in both the Busbice I
  lawsuit and the Big Screen arbitration. I have no opinion with respect to what, if any,
  legal work CB&V performed with respect to the purchase of the Santa Monica
  condominium. (There are no invoices for any such work from CB&V. See AV Dep. at
  183). Aside from the question of whether CB&V performed any legal work, the
  transaction itself was illicit in that funds used to make the purchase were fraudulently
  obtained from Mr. Busbice.
  18 In her deposition, CB&V's bookkeeper, Ms. Atherton, testified that with respect to Ex.
  93, 106, 111, 112, and 113, she was never asked to prepare a statement for services
  relating to these wire transfers, nor was she aware of CB&V ever being compensated "in
  connection with any legal services rendered in connection with wire transfers coming
  from a Swiss bank account'(Atherton Dep. at 94-95).

                                              .•
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         It is my professional opinion that no one could reasonably conclude the Mr.

  Vuckovich and the CB&V law firm satisfied their obligations under the rules governing

  attorney conduct in Illinois concerning attorney record keeping and the proper

  maintenance of lawyer trust accounts. Moreover, in my opinion, the conduct evidenced

  by Mr. Vukovich and the CB&V law firm is plainly consistent with the actions of an

  attorney who sought to aid and abet clients engaged in a scheme to defraud others.


                                                      ~~~'(
                                                        John M. Breen


     Date




                                             ..
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                                     Appendix
                                Report of John M.Breen




  Exhibit A            C.V. of John M. Breen

  Exhibit B            Second Amended Complaint

  Exhibit C            Vuckovich 000037, Vuckovich 000222-000223, Vuckovich
                       000843-000854, Vuckovich 000959-000960, Vuckovich 000962-
                       000963, Vuckovich 000966-000967.

  Exhibit D            A November 4, 2013 Chase cashier's check for $50,000 listing
                       Steven J. Brown as the remitter and CB&V as the payee, which
                       CB&V deposited in its Account No. 701 produced by Bank Leumi.

  The following documents were also relied upon and already in defendants' possession or
  are being produced contemporaneously tyith this Report.

                       The deposition of Adrian Vuckovich taken on November 30, 2017
                       and December 1, 2017 with exhibits.

                       The deposition of Bridget Atherton taken on February 5, 2018 with
                       exhibits.

                       Charts providing by plaintiffs' forensic accounting expert, Joan
                       Martin, which are all attached as exhibits to Ms. Martin's expert
                       report.




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                  EXHIBIT A
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                                   JOHN M. BREEN
                                    510 North Main Street
                                   Naperville, Illinois 60563
                                       (630) 579-1066
                                      jbreen1@luc.edu




EXPERIENCE:
LOYOLA UNIVERSITY CHICAGO SCHOOL OF LAW              (Chicago, Illinois)
Georgia Reithal Professor of Law, 2018-present
Professor of Law, 2009-2018
Associate Professor of Law, 2002-2009
Assistant Professor of Law, 1996-2002

      Teaching courses in Professional Responsibility, Contracts, Sales,
       Negotiable Instruments, Jurisprudence and Catholic Social Thought
      Faculty advisor to the Loyola University Chicago Law Journal
      Service on the Faculty Appointments Committee, Committee on Community
       Relations, Curriculum Committee, Committee on Faculty Advancement,
       Faculty Advisory Committees for untenured colleagues, and the Admissions
       Discrepancy Committee

DETROIT COLLEGE OF LAW AT MICHIGAN STATE UNIVERSITY                (Detroit, Michigan)
Visiting Associate Professor of Law, 1994-1996

      Teaching courses in Commercial Transactions, Constitutional Law, and
       Legal Profession

SIDLEY & AUSTIN (Chicago, Illinois)
Associate, 1989-1994

      Practice included commercial litigation involving a wide variety of
       cases dealing with breach of contract, commercial fraud, insurance
       coverage litigation and appellate practice

HONORABLE BOYCE F. MARTIN, JR. (Louisville, Kentucky)
United States Court of Appeals for the Sixth Circuit
Law Clerk, 1988-1989
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EDUCATION:
HARVARD UNIVERSITY (Cambridge, Massachusetts)
J.D., 1988

      Board of Student Advisors                                  1986-1988
       Co-Chair, Ames Moot Court Cases Committee                  1987-1988
      Harvard Catholic Law Students Association                  1985-1988
      Harvard Law School Democrats                               1985-1988
      Harvard Journal on Legislation                             1985-1986

UNIVERSITY OF NOTRE DAME (Notre Dame, Indiana)
B.A., 1985, Program of Liberal Studies (The Great Books Program)

      Graduated with Highest Honors
      Elected to Phi Beta Kappa
      Selected to the Notre Dame London Program
      Volunteer, Logan Center for the Mentally Handicapped
      Intramural sports

LEGAL WRITING:
The Thinness of Catholic Legal Education, A Review of Robert J. Kaczorowski, FORDHAM
UNIVERSITY LAW SCHOOL: A HISTORY (with Lee Strang), 14 U. ST. THOMAS L. J. __ (2018)

The Forgotten Jurisprudential Debate: Catholic Legal Thought’s Response to Legal Realism
(with Lee Strang), 98 MARQUETTE L. REV. 1203 (2015)

A Brief History of American Catholic Legal Education: The Arc of an Uncertain Identity (book
chapter with Lee Strang) in AMERICAN LAW FROM A CATHOLIC PERSPECTIVE: THROUGH A
CLEARER LENS (Roanld J. Rychlak ed. 2014)

Abortion, Religion, and the Accusation of Establishment: A Critique of Justice Stevens’ Opinions
in Thornburgh, Webster, and Casey, 39 OHIO N.U. L. REV. 823 (2013)

The Road Not Taken: Catholic Legal Education at the Middle of the Twentieth-Century (with
Lee Strang), 51 AM. J. LEGAL HIST. 553 (2011) (peer reviewed)

Religion and the Purification of Reason: Why the Liberal State Requires More Than Simple
Tolerance, 33 CAMPBELL L. REV. 505 (2011) (invited symposium piece)

Love, Truth, and the Economy: A Reflection on Benedict XVI’s Caritas in Veritate, 33 HARV. J.
L. & PUB. POL’Y 987 (2010) (solicited article)

The Golden Age That Never Was: Catholic Law Schools From 1930-1960 and the Question of
Identity (with Lee Strang), 7 J. CATH. SOCIAL THOUGHT 489 (2010)
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Neutrality in Liberal Legal Theory and Catholic Social Thought, 32 HARV. J. L. & PUB. POL’Y
513 (2009)

Priest, Prophet, and King: Abortion, the Vocation of Catholic Politicians, and the Culture of
Life, 6 J. CATH. SOCIAL THOUGHT 353 (2009)

Modesty and Moralism: Justice, Prudence and Abortion – A Reply to Skeel & Stuntz, 31 HARV.
J. L. & PUB. POL’Y 219 (2008)

John Paul II, the Structures of Sin and the Limits of Law, 52 ST. LOUIS U. L. J. 317 (2008)

Action as the Fruit of Contemplation: A Reply to Bryce, Donnelly, Kalscheur, and Nussbaum, 43
GONZAGA L. REV. 645 (2007/08)

The Air in the Balloon: Further Notes on Catholic and Jesuit Identity in Legal Education, 43
GONZAGA L. REV. 41 (2007/08)

Never Get Out’a the Boat: Stenberg v. Carhart and the Future of American Law (with Michael
A. Scaperlanda), 39 CONN. L. REV. 1 (2006); reprinted in 62 Revista do Ministrerio Publico do
Rio Grande do Sul (Nov. 2008-Abr. 2009)

The Catholic Lawyer: “Faith” in Three Parts 20 NOTRE DAME J.L. ETHICS & PUB. POL'Y 431
(2006)

Justice and Jesuit Legal Education: A Critique, 36 LOYOLA U. CHICAGO L. J. 383 (2005)

The Catholic Lawyer and the Meaning of “Success,” 40 CATH. LAW. 227 (2001)

The Law and Liberal Learning: What the Great Books Have to Offer the Legal Profession,
PROGRAMMA, Fall 2001

Conflicts of Interest in the Small Firm Setting (book chapter with Barry S. Alberts) in
LITIGATION ETHICS: COURSE MATERIALS FOR CONTINUING LEGAL EDUCATION (American Bar
Association 2000)

Statutory Interpretation and the Lessons of Llewellyn, 33 LOYOLA OF LOS ANGELES L. REV. 263
(2000)

The Catholic Lawyer: Justice and the Incarnation, 39 CATH. LAW. 269 (2000), reprinted in the
FELLOWSHIP OF CATHOLIC SCHOLARS QUARTERLY, Spring 2001

The Lost Volume Seller and Lost Profits Under U.C.C. §2-708(2): A Conceptual and Linguistic
Critique, 50 U. MIAMI L. REV. 779 (1996)
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WORKS IN PROGRESS:
A Light Not Seen: A History of Catholic Legal Education in the United States (book project, with
Lee Strang)

Storms of Change on the New Frontier: Catholic Identity in Legal Education 1960-1990 (with
Lee Strang, planned spring submission 2018)

Be Not Afraid: Catholic Legal Education from 1990-Today (in progress)

The Substance of Things Hoped For: A Prescription for Catholic Legal Education (in progress)

No Laughing Matter: Justice Stevens, the Establishment Clause and the Jurisprudence of
Abortion (in progress)

The Reasonableness of Faith and the “Faithiness” of Reason (in progress)

Fair Deals, Good Deals, and Real Deals: Liberal Neutrality, Catholic Social Thought and
American Contract Law (in progress)

The “Clear and Present Danger” of Justice Kennedy’s Hyperbole: Toward a Comprehensive
Theory of Restrictions on Attorney Speech (in progress)

LECTURES AND PRESENTATIONS:

The Attorney Client Privilege and the Duty of Confidentiality in the Electronic Age, (Association
of Women Attorneys of Lake County, “2018 Ethics and Professionalism Seminar,” College of
Lake County, Greyslake, Illinois, January 12, 2018)

The First Amendment and Free Exercise of Religion: Masterpiece Cakeshop, Ltd. v. Colorado
Civil Rights Commission, (Constitutional Rights Foundation of Chicago, “Equal Justice Under
Law” program, panel discussion, Dirksen Federal Building, Chicago, Illinois, December 8, 2017)

Saving Nature by Saving the Human: What Is Natural Law? & Is It Still Relevant? (Catholic
Lawyers Guild of Chicago, panel discussion, Skadden, Arps, Slate, Meagher & Flom, Chicago,
Illinois, December 7, 2017)
Academic Freedom and Catholic Identity: A Misunderstood Relation, (Univ. St. Thomas School
of Law, Univ. St. Thomas Law Journal Symposium on “Academic Freedom in Catholic
Universities: Where the Church Does Its Thinking,” November 17, 2017) (with Lee Strang)
Discrimination, Identity, and the Professional Responsibility of Lawyers, (Multicultural Law
Student Association, panel discussion, “Combatting Hate Speech,” DePaul University College of
Law, November 2, 2016)
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Communication Is Key: But Receivers Must Stay Within Ethical Boundaries (National
Association of Federal Equity Receivers, 5th Annual Conference, panel discussion, Mayflower
Hotel, Washington, D.C., October 14, 2016)

Obergefell v. Hodges, One Year Out: What the Past Twelve Months Tell Us About the Future of
Religious Liberty (Christian Legal Society, Northern Illinois Chapter, panel discussion “The
Supreme Court’s Obergefell Decision One Year Out,” Chicago, Illinois, July 6, 2016)

Discrimination, Identity, and the Professional Responsibility of Lawyers, (Arab American Bar
Association, panel discussion, “Islamophobia and the Rule of Law,” Loyola University Chicago
School of Law, April 21, 2016)

Catholic Legal Education in the United States: Its History, Promise, and Reality (Yale Law
School, Yale Catholic Law Students Association, March 7, 2016) (with Lee Strang)

Can We All Get Along?: Obergefell v. Hodges and the Meaning of Rationality in Constitutional
Adjudication, (Rueben J. Clark School of Law, Brigham Young University, “Symposium on the
Implications of Obergefell v. Hodges for Family, Faith, and the Future,” October 12, 2015)

The Salient Characteristics of Obergefell v. Hodges, (Christian Legal Society, Northern Illinois
Chapter, panel discussion, “The Supreme Court’s Obergefell v. Hodges Decision: First Blush
Reactions and Reviews,” Chicago, Illinois, July 1, 2015)

Catholic Legal Theory in Catholic Law Schools: Past and Present, (Villanova University School
of Law, 9th Annual John F. Scarpa Conference on Law, Politics, and Culture, “Catholic Legal
Theory: Aspirations, Challenges, and Hopes,” April 24, 2015)

The Substance of Things Hoped For: A Prescription for Catholic Legal Education, (Pepperdine
University School of Law, Nootbaar Religious Legal Theory Conference on “Wisdom, Law, and
Lawyers,” February 15, 2015) (with Lee Strang)

The Challenge of Being a Catholic Lawyer Today, (Loyola Academy Bar Association, Loyola
University Chicago School of Law, November 19, 2014)

Past as Prologue and Resorting to Unreason: The Role of Pre-Roe Regulation and the
Establishment Clause Argument in the Abortion Debate (University of Chicago Law School,
Law Students for Life, November 18, 2014)

Legal Scholarship Under Catholic Inspiration (Religiously Affiliated Law Schools Conference,
“Religious Identity in a Time of Challenge for Law Schools,” University of St. Thomas School
of Law, Minneapolis, Minnesota, September 19, 2014)

Current Challenges to Religious Liberty (Loyola University Chicago, Cuneo Hall, April 23,
2014)
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Catholicism, Global Development, and the Professional Life (Hank Center for Catholic
Intellectual Heritage, panel discussion of ROBERT CALDERISI, EARTHLY MISSION: THE CATHOLIC
CHURCH AND WORLD DEVELOPMENT (Yale Press, 2013) including the author, Loyola University
Chicago, Beane Hall, April 2, 2014)

Legal Ethics and Professional Responsibility (ABA Law Student Division – Seventh Circuit,
Spring Meeting, “Skills Forward – Preparing Tomorrow’s Lawyer Today,” Loyola University
Chicago School of Law, February 22, 2014)

Religious Liberty in the United States: An Historical Overview (Speak Out Illinois 2014,
“Empowered for Life: Putting Truth Into Action,” Crowne Plaza O’Hare Hotel, February 1,
2014)

Tikkun Olam from a Catholic Perspective (DePaul University College of Law, Center for Jewish
Law & Judaic Studies Conference on “Repairing a Broken World: Comparative Perspectives on
Social Justice as a Religious Mandate,” October 24, 2013)

Arab American Bar Association CLE Course: Current Challenges to Religious Liberty: Same-
Sex Marriage and the HHS Mandate (Polsinelli Shughart PC, Chicago, Illinois, September 25,
2013)

“Oh Say Can You See”: The Coming Wave of Religious Intolerance (St. John’s Catholic Church,
Villa Park, Illinois, September 11, 2013)

“Oh Say Can You See”: The Coming Wave of Religious Intolerance (Catholic Citizen of Illinois,
Union League Club of Chicago, July 12, 2013)

Legal Discourse and Religion: The Strategy of Winning an Argument Without Having One – The
Case of Abortion (Ohio Northern University School of Law, Carhart Symposium on Law and
Religion, April 12, 2013)

Liberty, Equality, Marriage and the Law (Catholic Lawyers’ Guild of Springfield, Cathedral of
the Immaculate Conception, Springfield, Illinois, February 18, 2013)

A Primer on the Religion Clauses of the First Amendment and Religious Symbols in Public
Spaces – The Four “C”s: Commandments, Crosses, Coins, and City Seals (Chicago Bar
Association, CLE Seminar “Deck the City Halls?: Religious Expression in the Public Square”
December 19, 2012)

A Light Not Seen: A History of Catholic Legal Education in the United States (Creighton
University School of Law, faculty workshop, October 4, 2012) (with Lee Strang)

“Awake O Sleeper”: The Church, the Law, and the Threat to Religious Liberty (Speaker Series,
Our Lady of the Woods Parish, Orland Park, Illinois, September 11, 2012)

Neither A Wall Nor An Open Door: An Overview of Establishment Clause Jurisprudence
(Chicago Bar Association, CLE Seminar “When Church and State Collide,” June 22, 2012)
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“Awake O Sleeper”: The Church, the Law, and the Threat to Religious Liberty (Archdiocese of
Chicago Institute for Diaconal Studies, St. Lambert Parish, Skokie, Illinois, June 16, 2012)

Arab American Bar Association CLE Course on Professional Responsibility (Polsinelli Shughart
PC, Chicago, Illinois, June 13, 2012)

Storms of Change on the New Frontier: Catholic Identity in Legal Education 1960-1990
(Pepperdine University School of Law, Nootbaar Religious Legal Theory Conference on “The
Competing Claims of Law and Religion: Who Should Influence Whom?,” February 25, 2012)

The Forgotten Jurisprudential Debate: The Encounter Between Legal Realism and Catholic
Legal Thought From 1930-1960 (University of Notre Dame, Notre Dame Center for Ethics and
Culture Conference on “Radical Emancipation: Confronting the Challenge of Secularism,”
November 11, 2011)

No Laughing Matter: Justice Stevens, the Establishment Clause and the Jurisprudence of
Abortion (21st Annual University Faculty for Life Conference, University of Notre Dame, June
10, 2011)

Religion and the Purification of Reason: Why the Liberal State Requires More Than Simple
Tolerance (Annual Conference on Catholic Legal Thought, University of Oklahoma College of
Law, May 17, 2011)

Life: A Summary of Catholic Moral Teaching and an Application to the Practice of Law
(Catholic Charities of Chicago, CLE professional responsibility presentation, St. Peter’s in the
Loop, Chicago, Illinois, May 12, 2011)

Religion and the Purification of Reason: Why the Liberal State Requires More Than Simple
Tolerance (Campbell University School of Law, Symposium Conference on “Liberalism,
Constitutionalism, and Christianity,” Raleigh, North Carolina, March 18, 2011)

Thomas More: Model of Integrity (Lumen Christi Institute, Characters of the Reformation
Lecture Series, University of Chicago, October 21, 2010)

What Is Justice?: Two Ideas Compete for Your Allegiance (Speaker Series, St. Catherine
Laboure Parish, Glenview, Illinois, February 14, 2010)

Law and the Color Purple (Northwestern University School of Law, St. Thomas More Society,
November 2, 2009)

No Laughing Matter: Justice Stevens, the Establishment Clause and the Jurisprudence of
Abortion (17th Annual Meeting of the Society of Catholic Social Scientists, University of
Mississippi School of Law, October 30, 2009)

The Road Not Taken: Catholic Legal Education at the Middle of the Twentieth Century
(Villanova University School of Law, Symposium on Catholic Social Thought and the Law:
Catholic Social Thought and Legal Education, September 26, 2009)
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The Absence and Presence of Hope in American Law: A Reflection on Spe Salvi (Annual
Conference on Catholic Legal Thought, Catholic University of America School of Law, June 10,
2009)

An Overview of Centesimus Annus (Cathedral of the Holy Name Lecture Series, Chicago,
Illinois November 19, 2008)

Priest, Prophet, and King: The Call to Public Service and the Culture of Life (Villanova
University School of Law, Symposium on Catholic Social Thought and the Law: Catholic Social
Thought and Citizenship, October 11, 2008)

Catholic Legal Theory and the Misunderstood Relation Between Faith and Reason (Annual
Conference of Catholic Legal Thought, Seattle University School of Law, May 30, 2008)

John Paul II, Law, Culture and the Regulation of Abortion (15th Annual Meeting of the Society
of Catholic Social Scientists, St. John’s University School of Law, October 26, 2007)

Reunion 2007 Professional Responsibility Program for CLE (Loyola University Chicago School
of Law, September 7, 2007)

Modesty and Moralism – Responding to Bill Stuntz and David Skeel on Abortion (Conference on
Christian Legal Thought, Washington D.C., January 6, 2007)

Making a Choice: The Reality of Communion and Support for Abortion Rights Among Catholic
Politicians (the Sheil Catholic Center, Northwestern University, May 16, 2006)

The Air in the Balloon: Further Notes on Catholic and Jesuit Identity in Legal Education
(Baylor University School of Law, Conference of Religiously Affiliated Law Schools, March 31,
2006)

A Critical Look at Jesuit Legal Education (University of Notre Dame, Notre Dame Center for
Ethics and Culture Conference on “Joy in the Truth: The Catholic University in the New
Millennium,” September 30, 2005)

A Partial Meeting of the Minds: The Principle of Subsidiarity and Contract Law (Conference on
“Taking Christian Legal Thought Seriously,” San Francisco, January 8, 2005)

Liberal Neutrality, Catholic Social Thought and American Contract Law (Villanova University
School of Law, Symposium on Catholic Social Thought and the Law, October 3, 2003)

Newman, Loyola, the University and the Great Desire for Justice: A Response to John Haughey
(Loyola University Chicago, April 2, 2002)

The American Response to the Events of September 11th in Light of the Catholic Teaching on
Just War (Ss. Peter & Paul Roman Catholic Church, Naperville, Illinois, December 4, 2001)
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The Law and Liberal Learning: What the Great Books Have to Offer the Legal Profession
(University of Notre Dame, Conference Celebrating the 50th Anniversary of the Program of
Liberal Studies, April 4-5, 2001)

Interpreting Article 2 and Interpreting Agreements Under Article 2: Llewellyn’s Disparate
Treatment of Text and Context (Cumberland Law School, Samford University, Law and History
Colloquium May 1, 1998)

The Law of Contract Formation and Damages Under Article 2 of the U.C.C. (Fundacâo Getulio
Vargas, Porto Alegre, Brazil, November 6, 1997)

Introduction to the Law of Negotiable Instruments in American Law (Universidade Do Vale Do
Rio Dos Sinos, Sao Leopoldo, Brazil, November 3, 1997)

Beyond Gentile: An Analysis of the History, Purpose and Future of Ethical Rules Governing
Trial Publicity (National Lawyers Association Annual Meeting, Chicago, Illinois, September 20,
1996)

Ethics for Externs: New Horizons and New Limitations (address to legal externship students at
the Detroit College of Law, March 15, 1995)

SERVICE:
Lumen Christi Institute, University of Chicago                           2002-2012
      Law & Culture Forum, Academic Chair

Illinois Supreme Court, Committee on Professional Responsibility         2000-2003
         Reporter

Cornell Law School, Legal Information Institute                          1999-2004
       American Legal Ethics Library - Illinois entry
       Contributor

Catholic Conference of Illinois                                          2012-present
       Board of Directors – Lay Member

Catholic-Jewish Scholars Dialogue, Chicago                               2009-Present

Thomas More Society                                                      2016-present
     Board of Directors

Arab-American Bar Association of Illinois
    Founding Member                                                     1990
    Board of Directors                                                  1992-94; 1996-2005;
                                                                         2015-present
      Treasurer                                                         2005-2009
      Vice President                                                    2009-2012
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      President                                                        2012-2015

Arab American Voter Initiative
      Board of Directors                                                2006-2016

Law Consortium for Palestinian Legal Education                          May 2001-Dec. 2002
      Co-Faculty Director

SS. Peter & Paul Roman Catholic Church, Naperville, Illinois
       Parish Council Member                                            2002-2009

BAR MEMBERSHIPS:
Supreme Court of Illinois
U.S. Court of Appeals for the Sixth Circuit
U.S. Court of Appeals for the Seventh Circuit
U.S. District Court for the Northern District of Illinois

EXPERT TESTIMONY WITHIN THE LAST FOUR YEARS:
MDA City Apartments, LLC v. DLA Piper US LLP (Cook County Circuit Court, No. 12-L-7622)
(2013-2014) (report and deposition)

PERSONAL:
Born May 30, 1963, Louisville, Kentucky; married to Susan Nelligan Breen, two children, Peter
Joseph (16) and Philip Vincent (14)
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                   EXHIBIT B
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                                                                                           7   Attorneys for Plaintiffs
                                                                                               BILL A. BUSBICE, JR., OLLAWOOD
                                                                                           8   PRODUCTIONS, LLC, and ECIBSUB, LLC
                                                                                           9                         UNITED STATES DISTRICT COURT
                                                                                          10                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                          11                                  WESTERN DIVISION
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                                                                                          12   BILL A. BUSBICE, JR., an individual;          Case No. CV 16-8511
                                                           I R V I N E , C A 92614-2545




                                                                                               OLLAWOOD PRODUCTIONS, LLC, a
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                                                                                          13   limited liability company; and                SECOND AMENDED
                                                                                               ECIBSUB, LLC, a limited liability             COMPLAINT FOR:
                                                                                          14   company,
                                                                                                                                              1. CIVIL CONSPIRACY;
                                                                                          15                   Plaintiffs,                    2. AIDING AND ABETTING;
                                                                                          16              v.                                  3. IMPOSITION OF A
                                                                                                                                                 CONSTRUCTIVE TRUST;
                                                                                          17   ADRIAN VUCKOVICH, an individual;               4. NEGLIGENCE;
                                                                                               COLLINS, BARGIONE &
                                                                                          18   VUCKOVICH, a partnership; and DOES             5. BREACH OF FIDUCIARY
                                                                                               1 – 10, inclusive,                                DUTY
                                                                                          19
                                                                                                               Defendants.
                                                                                          20                                                 DEMAND FOR JURY TRIAL
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                                                                                           1              Plaintiffs Bill A. Busbice, Jr. (“Busbice”), Ollawood Productions, LLC,
                                                                                           2   formerly known as Olla Productions, LLC (“Ollawood”), and Ecibsub, LLC
                                                                                           3   (“Ecibsub”) (collectively, “Plaintiffs”), allege:
                                                                                           4                                 NATURE OF THE ACTION
                                                                                           5              1.    During a nine month span, a group of con men – led primarily by
                                                                                           6   Steven J. Brown (“Brown”), James David Williams (“Williams”) and Stuart
                                                                                           7   Manashil (“Manashil”) – planned and executed an elaborate conspiracy to swindle
                                                                                           8   Plaintiffs out of almost $11,000,000 by using falsified bank records, fake
                                                                                           9   agreements, fictitious people and scores of outright lies and misrepresentations to
                                                                                          10   induce Plaintiffs to invest in four feature films (hereinafter, the “Conspiracy”).
                                                                                          11   Defendant Collins Bargione & Vuckovich, an Illinois law firm, (“CBV”), and one
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                                                                                          12   of its partners, defendant Adrian Vuckovich (“Vuckovich”) participated in the
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                                                                                          13   Conspiracy and furthered its objectives by using CBV’s client trust account to
                                                                                          14   launder a portion of the fraud proceeds. Although the spokes of the Conspiracy
                                                                                          15   spread across a number of states, the hub of the Conspiracy that is the subject of
                                                                                          16   this action was firmly rooted in California, and its epicenter was Los Angeles.
                                                                                          17              2.    The ringleaders of the Conspiracy (Brown, Williams and Manashil)
                                                                                          18   reside in Los Angeles County, and they used the Hollywood film industry as the
                                                                                          19   backdrop to lure potential investors with lucrative investment opportunities to
                                                                                          20   invest in the production and marketing of feature films. In all, the extensive fraud
                                                                                          21   involved four films: Made in America, The Letters, Left Behind, and Angels Sing.
                                                                                          22   Although there were some differences in how the scheme for each film was
                                                                                          23   structured, the basic concept was the same: one or more of the co-conspirators,
                                                                                          24   who held themselves out as experienced film industry insiders, claimed to have a
                                                                                          25   deal in place to fund the production or marketing of a feature film. Plaintiffs were
                                                                                          26   told that investing in each deal would bring a guaranteed return of capital, interest,
                                                                                          27   and lucrative profit participation rights. One or more of the co-conspirators falsely
                                                                                          28   represented that they had already invested millions of their own money in each film
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                                                                                           1   (and/or that other sophisticated investors were involved), that more capital was
                                                                                           2   needed, and that Plaintiffs could take advantage of the lucrative deal by investing
                                                                                           3   their own money.
                                                                                           4              3.   As part of the ruse, the co-conspirators held themselves out as
                                                                                           5   experienced Hollywood film producers, executives and financiers and arranged for
                                                                                           6   Busbice to meet in Beverly Hills with Manashil, an agent at a prestigious
                                                                                           7   Hollywood talent agency, to bolster their Hollywood connections and credentials.
                                                                                           8   To monetize their Conspiracy, the co-conspirators set up and controlled a network
                                                                                           9   of bank accounts and shell companies in Los Angeles ‒ and used falsified monthly
                                                                                          10   bank statements from those accounts ‒ to induce Plaintiffs to transfer money to the
                                                                                          11   co-conspirators.
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                                                                                          12              4.   Although the bank statements provided to Busbice were fake, the
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                                                                                          13   accounts themselves were very much real, and the co-conspirators used them to
                                                                                          14   receive, convert and abscond with the investment funds Plaintiffs transferred to
                                                                                          15   them. To launder a portion of their fraud proceeds, the co-conspirators transferred
                                                                                          16   or deposited hundreds of thousands of dollars ‒ directly traceable to Plaintiffs’
                                                                                          17   funds wired into the co-conspirators’ Los Angeles bank accounts ‒ into CBV’s
                                                                                          18   client trust account in Chicago. Almost immediately, most of those proceeds were
                                                                                          19   re-directed or returned back to the co-conspirators, who re-deposited those funds
                                                                                          20   into their Los Angeles bank accounts and used those proceeds to purchase personal
                                                                                          21   assets in Los Angeles. Thus, the co-conspirators used Los Angeles as their base of
                                                                                          22   operation, the Conspiracy began and ended in Los Angeles, and the proceeds of the
                                                                                          23   Conspiracy flowed through and returned to Los Angeles.
                                                                                          24              5.   For their part, Defendants CBV and Vuckovich used their respective
                                                                                          25   positions as an ostensible law firm and licensed attorney to serve as critical
                                                                                          26   members and aiders and abettors of the Conspiracy to defraud Plaintiffs. Defendant
                                                                                          27   CBV was the gatekeeper of the stolen funds. More specifically, Vuckovich and
                                                                                          28   CBV (by and through Vuckovich) knowingly allowed hundreds of thousands of
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                                                                                           1   dollars traceable to Plaintiffs’ investment funds to pass through CBV’s purported
                                                                                           2   client trust account, often in the form of cashier’s checks, to compensate the co-
                                                                                           3   conspirators for their fraudulent dealings with Plaintiffs, so that the fact and
                                                                                           4   fraudulent nature of the transfers might be cloaked behind a purported attorney-
                                                                                           5   client relationship and privilege. Defendants also received for themselves
                                                                                           6   significant amounts of money traceable to Plaintiffs’ investment funds for their role
                                                                                           7   in furthering the fraud and conversion.
                                                                                           8              6.   As co-conspirators, the liabilities of defendants CBV and Vuckovich
                                                                                           9   are not limited to their individual acts in furtherance of the Conspiracy but, in fact,
                                                                                          10   encompass all of the damage and harm Plaintiffs suffered as a result of the
                                                                                          11   Conspiracy. Each participant in a conspiracy is responsible as a joint tortfeasor for
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                                                                                          12   all damages ensuing from the underlying wrong, regardless of the degree of his or
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                                                                                          13   her individual activity in furtherance of the conspiracy; and the act of one during
                                                                                          14   the conspiracy is the act of all if done in furtherance of the conspiracy. The vast
                                                                                          15   majority of the events and/or omissions giving rise to Plaintiffs’ claims in this
                                                                                          16   action, for which defendants CBV and Vuckovich may be held liable, occurred in
                                                                                          17   Los Angeles, and most of the key witnesses and much of the evidence underlying
                                                                                          18   the Conspiracy are located in Los Angeles. In stark contrast, there are no material
                                                                                          19   non-party witnesses located in the Northern District of Illinois.
                                                                                          20              7.   Defendants are also independently liable in this action for breaches of
                                                                                          21   their duties of care and of their fiduciary duties owed to their client, Luxe One, Inc.
                                                                                          22   (“Luxe One”), one of the vehicles through which the Conspiracy operated. CBV
                                                                                          23   and Vuckovich independently breached their duties to their client Luxe One, a
                                                                                          24   California corporation, were engaged in such representation in California, and a
                                                                                          25   substantial part of the events giving rise to Plaintiffs’ claims for negligence and
                                                                                          26   breach of fiduciary duty occurred in Los Angeles. All right, title and interest in
                                                                                          27   Luxe One has been assigned to Plaintiff Ollawood as part of a settlement with the
                                                                                          28   co-conspirators. At the same time that CBV and Vuckovich were secretly passing
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                                                                                           1   the fraudulently obtained funds through their trust account, CBV and Vuckovich
                                                                                           2   also served as Luxe One’s attorney, doing business in Los Angeles and representing
                                                                                           3   Luxe One in proceedings pending in Los Angeles, described below.
                                                                                           4              8.    CBV and Vuckovich represented the co-conspirators throughout the
                                                                                           5   relevant time period. During the course of that representation, CBV and Vuckovich
                                                                                           6   were plainly made aware of all of the facts and details evidencing that all of the
                                                                                           7   money invested in Luxe One was fraudulently obtained from the Plaintiffs, and that
                                                                                           8   Brown and Williams had been systemically and fraudulently converting those funds
                                                                                           9   from Luxe One’s JP Morgan Chase (“Chase”) bank account in Los Angeles for
                                                                                          10   their own unauthorized and personal uses. Indeed, six million dollars of Plaintiffs’
                                                                                          11   funds were paid into Luxe One’s Los Angeles bank account as a result of the fraud,
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                                                                                          12   almost all of which was stolen with the assistance of CBV and Vuckovich while
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                                                                                          13   they served as Luxe One’s counsel. Nonetheless, CBV and Vuckovich continued to
                                                                                          14   hold and to transfer to the co-conspirators large amounts of money from Luxe
                                                                                          15   One’s Chase bank account.
                                                                                          16              9.    At the same time that CBV and Vuckovich represented Luxe One,
                                                                                          17   CBV and Vuckovich played an integral role in representing other parties with
                                                                                          18   patently conflicting interests and then failed to disclose to Plaintiff Ollawood, as a
                                                                                          19   significant shareholder of Luxe One, about the scheme to defraud Plaintiffs and
                                                                                          20   siphon off all of Luxe One’s money, all to Ollawood’s and Luxe One’s detriment.
                                                                                          21              10.   Plaintiffs now bring this lawsuit against CBV and Vuckovich for their
                                                                                          22   participation in the Conspiracy, for the knowing and substantial assistance they
                                                                                          23   gave to the co-conspirators in carrying out their fraudulent scheme, for CBV’s and
                                                                                          24   Vuckovich’s unjust receipt of portions of Plaintiffs’ investment funds, and for
                                                                                          25   CBV’s and Vuckovich’s breaches of duty to CBV’s California client, Luxe One.
                                                                                          26                                JURISDICTION AND VENUE
                                                                                          27              11.   This Court has subject matter jurisdiction over this action pursuant to
                                                                                          28   28 U.S.C. section 1332 (diversity), because the matter in controversy exceeds the
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                                                                                           1   sum of $75,000, exclusive of interest and costs and is between citizens of different
                                                                                           2   states.
                                                                                           3              12.   Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2),
                                                                                           4   because a substantial part of the events or omissions giving rise to Plaintiffs’ claims
                                                                                           5   occurred in this district. Plaintiffs previously filed a lawsuit arising out of the same
                                                                                           6   Conspiracy in this district in an action captioned Busbice, et al. v. Williams, et al.,
                                                                                           7   Case No. 2:14-cv-04077-PA-AJW (hereinafter, “Busbice I”). Plaintiffs obtained
                                                                                           8   judgments in that action against Williams, Brown and co-conspirator Gerald
                                                                                           9   Seppala (“Seppala”) for their roles in the Conspiracy. The present action seeks to
                                                                                          10   hold defendants CBV and Vuckovich liable for their active and brazen participation
                                                                                          11   in that same Los Angeles-based Conspiracy, and much of the same events giving
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                                                                                          12   rise to the claims in the Busbice I action, which was before this Court, also are the
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                                                                                          13   subject of the claims in this action and occurred in this district.
                                                                                          14              13.   As alleged in greater detail below, Plaintiffs contend that CBV and
                                                                                          15   Vuckovich joined in and furthered the Conspiracy to defraud and deceive them and
                                                                                          16   to abscond with their funds. A substantial part of the events giving rise to
                                                                                          17   Plaintiffs’ claims occurred in Los Angeles, and each co-conspirator is responsible
                                                                                          18   as a joint tortfeasor for all damages ensuing from the wrong, irrespective of whether
                                                                                          19   or not he was a direct actor and regardless of the degree of his activity. Similarly,
                                                                                          20   the aiding and abetting theory of liability renders a defendant liable for all damages
                                                                                          21   proximately caused by the tortious conduct that defendant aided and abetted.
                                                                                          22   Accordingly, in a conspiracy to commit fraud, one member of a civil conspiracy is
                                                                                          23   liable for the fraudulent misrepresentations of another.
                                                                                          24              14.   Plaintiffs allege three claims relating to the Conspiracy: (1) for civil
                                                                                          25   conspiracy; (2) aiding and abetting fraud, conversion and fraudulent transfers; and
                                                                                          26   (3) for imposition of a constructive trust. Plaintiffs seek to hold CBV and
                                                                                          27   Vuckovich liable for their participation in the Conspiracy and for all damages the
                                                                                          28   Conspiracy caused. As alleged elsewhere, while CBV’s office is located in Illinois
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                                                                                           1   and Vuckovich is a resident of Illinois, the underlying Conspiracy that is the subject
                                                                                           2   of the claims against them had its nucleus in Los Angeles and a substantial part of
                                                                                           3   the Conspiracy’s events took place in the Central District.
                                                                                           4              15.   In addition, CBV and Vuckovich independently breached their duties
                                                                                           5   to their client Luxe One (a California corporation) by participating in the laundering
                                                                                           6   of stolen funds, they were engaged in representing Luxe One in California, and a
                                                                                           7   substantial part of the events giving rise to Plaintiffs’ claims for negligence and
                                                                                           8   breach of fiduciary duty occurred in Los Angeles.
                                                                                           9              16.   In sum, three of the five key members of the Conspiracy, including the
                                                                                          10   three ringleaders, reside in and are domiciled in Los Angeles. In addition, two of
                                                                                          11   the three entities used in the Conspiracy to receive Plaintiffs’ investment funds are
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                                                                                          12   California companies with their principal place of business in Los Angeles.
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                                                                                          13   Further, at least three of the five companies that were used to transfer and abscond
                                                                                          14   with Plaintiffs’ investment proceeds are California companies with their principal
                                                                                          15   place of business in Los Angeles. And finally, all of the non-party witnesses reside
                                                                                          16   in California.
                                                                                          17              17.   Accordingly, the Central District of California is the proper venue for
                                                                                          18   this action.
                                                                                          19                                         THE PARTIES
                                                                                          20              18.   Plaintiff Busbice is an individual domiciled and residing in Wyoming.
                                                                                          21              19.   Plaintiff Ollawood is a Louisiana limited liability company. Busbice is
                                                                                          22   Ollawood’s sole member.
                                                                                          23              20.   Plaintiff Ecibsub is a Louisiana limited liability company. Ecibsub’s
                                                                                          24   members are: Busbice; Dorothy Elizabeth Lippman Busbice, an individual
                                                                                          25   domiciled and residing in Wyoming; and Rebecca T. Romero, an individual
                                                                                          26   domiciled and residing in Louisiana, as Trustee for the Ryan Alfred Busbice Family
                                                                                          27   II Trust, the William Matthew Busbice Family II Trust, and the Sarah Elizabeth
                                                                                          28   Family II Trust. None of these trusts are Illinois trusts.
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                                                                                           1              21.    Defendant Vuckovich is an individual domiciled and residing in
                                                                                           2   Illinois, who resides in Illinois, maintains an office and place of business at North
                                                                                           3   LaSalle Street, Chicago, IL 60602, and receives mail at that office.
                                                                                           4              22.    Defendant CBV is an Illinois partnership, whose partners are
                                                                                           5   Vuckovich and Christopher Bargione.
                                                                                           6              23.    Bargione is an individual domiciled and residing in Illinois who
                                                                                           7   resides in Illinois, maintains an office and place of business at North LaSalle Street,
                                                                                           8   Chicago, IL 60602, and receives mail at that office.
                                                                                           9              24.    The true names and capacities, whether individual, corporate, or
                                                                                          10   otherwise, of the defendants sued herein as DOES 1 through 10, inclusive, are
                                                                                          11   unknown to Plaintiffs. Therefore, Plaintiffs sue the DOE defendants by such
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                                                                                          12   fictitious names. Plaintiffs will amend this complaint to show the true names and
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                                                                                          13   capacities of the DOE defendants when they have been ascertained. Plaintiffs are
                                                                                          14   informed and believe, and on that basis allege, that DOES 1 through 10, inclusive,
                                                                                          15   and each of them, are in some manner liable to Plaintiffs.
                                                                                          16              25.    Plaintiffs are informed and believe, and on that basis allege, that at all
                                                                                          17   times herein mentioned, defendants, and each of them, were the agents, trustees,
                                                                                          18   partners, joint venturers, co-conspirators, contractors and/or employees of the other
                                                                                          19   defendants, and that the acts and omissions herein alleged were done by them,
                                                                                          20   acting individually, through such capacity and within the scope of their authority,
                                                                                          21   and with the permission and consent of the other defendants and/or were thereafter
                                                                                          22   ratified by each of the other defendants, and that each of them are jointly and
                                                                                          23   severally liable to Plaintiffs.
                                                                                          24                    THE FRAUDULENTLY INDUCED INVESTMENTS AND
                                                                                          25                           CONVERSION OF PLAINTIFFS’ FUNDS
                                                                                          26                            The First Phase of the Conspiracy Begins
                                                                                          27              26.    Plaintiff Busbice was first targeted in April 2013 when co-conspirator
                                                                                          28   Seppala approached him regarding an opportunity to invest in a feature length
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                                                                                           1   documentary, Made in America. Co-conspirator Brown (who is a resident of Los
                                                                                           2   Angeles) and Seppala were represented to be the film’s producers. At that time,
                                                                                           3   Plaintiff Busbice was introduced to co-conspirator Williams (another Los Angeles
                                                                                           4   resident), who was represented to be a prominent Hollywood executive and
                                                                                           5   financier. Together, Seppala and Williams solicited an investment through the
                                                                                           6   purchase of membership units in an entity organized as the film’s project
                                                                                           7   management, development and financing entity known as Visions, LLC.
                                                                                           8              27.   Seppala and Williams represented to Busbice that the minimum
                                                                                           9   financing needed for the documentary was $1,000,000, and that Williams already
                                                                                          10   had invested $500,000 of his own money. They looked to Busbice to invest the
                                                                                          11   remaining $500,000. To further the fraud and to induce Busbice to invest in the
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                                                                                          12   project, Seppala sent Busbice an e-mail attaching a purported wire confirmation
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                                                                                          13   reflecting that Williams transferred $500,000 from an account in California to the
                                                                                          14   Visions account. On the same day that Busbice wire transferred his $500,000 into
                                                                                          15   the Visions account, and unbeknownst to Plaintiff Busbice, $450,000 of Plaintiffs’
                                                                                          16   money was immediately transferred out to another Chase account in California held
                                                                                          17   in the name of a shell company Williams controlled named Legacy Film Crest,
                                                                                          18   LLC (which is a California LLC with its principal place of business in Los
                                                                                          19   Angeles). Another $35,000 was transferred within days, so that $485,000 of the
                                                                                          20   $500,000 was rerouted to California for personal uses unrelated to Busbice’s
                                                                                          21   investment. As alleged below, it was not until more than one year later that
                                                                                          22   Plaintiffs began to discover that the Made in America investment was a complete
                                                                                          23   sham, and Plaintiffs’ money which he had transferred to a Chase bank account in
                                                                                          24   Los Angeles simply was stolen.
                                                                                          25               The Co-Conspirators Fraudulently Induce Further Investments
                                                                                          26                                  in Additional Feature Films
                                                                                          27              28.   Prior to the discovery of their first fraud and emboldened by their
                                                                                          28   success, the co-conspirators staged an elaborate scam in Los Angeles and
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                                                                                           1   maneuvered over the next nine months to fraudulently induce Plaintiffs to part with
                                                                                           2   an additional $10,400,000 in what turned out to be a series of bogus investments.
                                                                                           3   In June 2013, Williams solicited Busbice regarding an investment opportunity to
                                                                                           4   invest in a feature film about the life of Mother Teresa (called The Letters).
                                                                                           5   Williams represented that he had an agreement in place with the owner and
                                                                                           6   producer of The Letters (who is located in the Los Angeles area), to make a
                                                                                           7   $10,000,000 prints-and-advertising (“P&A”) loan for the film. The loan was to be
                                                                                           8   repaid with interest from the film’s net revenues, and was to be secured in a first
                                                                                           9   position by such revenues.
                                                                                          10              29.   Williams told Busbice that Luxe One (a California corporation with its
                                                                                          11   principal place of business in Los Angeles) already had received $6,000,000 from
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                                                                                          12   an entity named Chart Investment Fund CV12 (“Chart”) (purportedly based in
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                                                                                          13   California) and that Williams himself had already contributed $2,000,000 of his
                                                                                          14   own money to Luxe One. Busbice was told that his $2,000,000 investment would
                                                                                          15   complete the $10,000,000 needed to take advantage of Luxe One’s lucrative P&A
                                                                                          16   agreement on The Letters. To support these representations, Williams delivered a
                                                                                          17   falsified bank statement to Busbice showing more than $8,000,000 in Luxe One’s
                                                                                          18   Chase bank account in Los Angeles. Later that day, in direct reliance upon
                                                                                          19   Williams’ representations, Busbice wire transferred $2,000,000 to the Luxe One
                                                                                          20   bank account with that Chase bank in Los Angeles.
                                                                                          21              30.   Luxe One’s purported deal with the owner/producer of The Letters
                                                                                          22   also served as the basis for the next $4,000,000 investment that the co-conspirators
                                                                                          23   fraudulently induced. Specifically, in November 2013, Williams represented that
                                                                                          24   because The Letters was viewed as such a strong film, he, on Luxe One’s behalf,
                                                                                          25   negotiated a new deal to loan up to $22,000,000 (instead of the original
                                                                                          26   $10,000,000) for the film’s P&A spend on far more lucrative terms than the
                                                                                          27   existing deal. Williams represented that both he and Chart had already contributed
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                                                                                           1   an additional $4,000,000 each, and therefore, an additional $4,000,000 was needed
                                                                                           2   from Busbice/Ollawood.
                                                                                           3              31.   To fraudulently induce this $4,000,000 “investment,” Williams, among
                                                                                           4   other things, provided Plaintiffs with a purported Chase online statement showing
                                                                                           5   Luxe One’s account balance as of December 17, 2013 to be $18,014,609.46 to
                                                                                           6   make it appear as if he and Chart had actually contributed millions to Luxe One.
                                                                                           7   On January 2, 2014, in direct reliance on the various representations Williams
                                                                                           8   made, including the purported 12/17 Luxe One balance statement, Busbice, through
                                                                                           9   Ollawood, wire-transferred $4,000,000 to Luxe One’s Chase bank account in Los
                                                                                          10   Angeles.
                                                                                          11              32.   The co-conspirators obtained another $2,000,000 in a similar P&A
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                                                                                          12   loan scheme on October 30, 2013 when Busbice, through Ollawood, transferred
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                                                                                          13   that amount to an account held by Moment Factory, LLC (a California limited
                                                                                          14   liability company with its principal place of business in Los Angeles), a special
                                                                                          15   purpose entity that Williams purportedly set up to make a lucrative $4,000,000
                                                                                          16   P&A loan for Angels Sing, a Christmas-themed feature film starring Harry Connick
                                                                                          17   Jr., Willie Nelson and others. Williams again represented that he had already
                                                                                          18   invested $2,000,000 in Moment Factory, and that if Busbice invested the remaining
                                                                                          19   $2,000,000 needed, then the two would be equal partners in the deal. Once again,
                                                                                          20   Williams provided a falsified bank record to show that there was $1,903,150.24 in
                                                                                          21   Moment Factory’s Chase account as of October 28, 2013 due to Williams’
                                                                                          22   contribution, when in reality there was $0 in the account. And once again, genuine
                                                                                          23   Chase bank records Plaintiffs obtained in April 2014 show that no one but Plaintiffs
                                                                                          24   ever put any money into the Moment Factory/Angels Sing deal. Plaintiffs’ money
                                                                                          25   was fraudulently transferred among the co-conspirators and spent on various
                                                                                          26   unauthorized items, including personal and luxury items, such as cars, boats,
                                                                                          27   vacations, real estate, private school tuition, etc.
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                                                                                           1              33.   In August 2013, Williams fraudulently induced Busbice to part with
                                                                                           2   $2,400,000 in connection with a purported $15,000,000 production loan for Left
                                                                                           3   Behind (a feature length film starring Nicholas Cage), the remainder of which
                                                                                           4   Williams represented he was funding through his own purported P&A fund.
                                                                                           5   Williams’ purported P&A fund was a complete fabrication, and Williams never
                                                                                           6   invested any of his or his bogus fund’s own money, but rather misappropriated a
                                                                                           7   portion of Plaintiffs’ money from the Luxe One transaction. No part of the
                                                                                           8   $2,400,000 invested has been recovered.
                                                                                           9              The Conspiracy is Uncovered and Genuine Bank Records Reveal
                                                                                          10                                the Massive Extent of the Fraud
                                                                                          11              34.   More than one year after Plaintiffs invested in the first project solicited
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                                                                                          12   by the co-conspirators (the Made in America project), Plaintiffs began to discover
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                                                                                          13   that the purported film projects were a sham. Specifically, Plaintiffs discovered
                                                                                          14   that the Made in America project was a ruse to fraudulently solicit Plaintiffs’
                                                                                          15   investment, and no real work was ever done on that purported film project.
                                                                                          16   Approximately one year after being fraudulently induced to invest in the Made in
                                                                                          17   America project through purported wire confirmations reflecting that co-conspirator
                                                                                          18   Williams had transferred $500,000 of his own funds to a Chase bank account to
                                                                                          19   fund the project, Plaintiffs obtained, for the first time, genuine Chase bank records
                                                                                          20   showing, among other things, that: (a) the wire confirmations and bank records
                                                                                          21   previously provided were altered; (b) Plaintiffs’ $500,000 was the only money ever
                                                                                          22   “invested” in the purported project; (c) Plaintiffs’ investment funds were quickly
                                                                                          23   transferred to other accounts under one or more of the co-conspirators’ control, and
                                                                                          24   thereafter converted by the co-conspirators for their own unauthorized and
                                                                                          25   wrongful use.
                                                                                          26              35.   As with the Made in America project, the Luxe One deal was a
                                                                                          27   complete hoax ‒ but on a much larger scale. Plaintiffs obtained genuine Chase
                                                                                          28   bank records in April 2014 showing that neither Williams nor Chart ever put any
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                                                                                           1   money into Luxe One, and that only $112,945.09 was in the Luxe One account on
                                                                                           2   December 17, 2013 (the small remainder of Plaintiffs’ earlier $2,000,000
                                                                                           3   investment in July 2013), and not $18,014,609.46 as had been represented. And as
                                                                                           4   with the Made in America investment, the genuine bank records obtained from
                                                                                           5   Chase show that the $6,000,000 Busbice/Ollawood invested in Luxe One was
                                                                                           6   fraudulently transferred and spent by and among the co-conspirators, with the aid
                                                                                           7   and assistance of CBV and Vuckovich.
                                                                                           8              36.   As the records Chase produced confirm, there were two Chase
                                                                                           9   accounts held in the name of Luxe One. Both of those accounts were maintained in
                                                                                          10   a Chase Los Angeles County office (located in Chatsworth). One ends in 2939 and
                                                                                          11   is referred to as the “Luxe One 2939 Account.” The Luxe One 2939 Account was
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                                                                                          12   the disclosed corporate account and the one into which Plaintiffs wire transferred
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                                                                                          13   their funds as instructed. The other Luxe One account, which at all times was
                                                                                          14   concealed from Plaintiffs, ends in 1572 and is referred to as the “Luxe One 1572
                                                                                          15   Account.”
                                                                                          16              37.   Records Chase produced confirm that more than $1 million flowed
                                                                                          17   into the secret Luxe One 1572 Account directly from either the Luxe One 2939
                                                                                          18   Account or another Chase account that the co-conspirators controlled, both of
                                                                                          19   which Plaintiffs funded exclusively. Chase’s records also confirm that Brown had
                                                                                          20   control over the Luxe One 1572 Account and that he brazenly used the money in
                                                                                          21   that account for his own personal use and enjoyment and signed for and made
                                                                                          22   repeated withdrawals and transfers of substantial sums of money during the year
                                                                                          23   that the account was active.
                                                                                          24              38.   As alleged below, among the transfers Brown made from the Luxe
                                                                                          25   One 1572 Account were transfers of at least $285,000 to CBV’s client trust
                                                                                          26   account. Other transfers made by Brown to one or more shell companies also were
                                                                                          27   later transferred to CBV.
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                                                                                           1                    Defendants CBV’s and Vuckovich’s Furtherance of the
                                                                                           2                                  Conspiracy and Conversion
                                                                                           3              39.   From May 2013, shortly after the co-conspirators fraudulently
                                                                                           4   obtained the first $500,000 of Plaintiffs’ investment funds, until at least June 2014,
                                                                                           5   CBV and Vuckovich received hundreds of thousands of dollars traceable to
                                                                                           6   Plaintiffs’ fraudulently induced investment funds from accounts controlled by
                                                                                           7   Williams and/or Brown. Based on bank records obtained to date, the total amount
                                                                                           8   of such funds CBV and Vuckovich received is believed to be at least $473,000.
                                                                                           9              40.   As alleged above, most, if not all of these transfers to CBV and
                                                                                          10   Vuckovich, were of funds from bank accounts held in Los Angeles by entities
                                                                                          11   based in Los Angeles. A recent criminal indictment filed by the United States of
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                                                                                          12   America against Williams, Brown and Seppala in the United States District Court
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                                                                                          13   for the Southern District of New York (the “Indictment”) contains three counts: (1)
                                                                                          14   Conspiracy to commit wire fraud; (2) Wire fraud; and (3) Conspiracy to commit
                                                                                          15   money laundering. The Indictment alleges, among other things, that after Williams
                                                                                          16   transferred “fraudulently obtained funds” to an account Williams and Brown held
                                                                                          17   jointly, Brown then disbursed such funds from the joint account “to different parties
                                                                                          18   unrelated to the film projects for which that money was given, including sending
                                                                                          19   more than $200,000 to a law firm with whom BROWN works[.]” (United States v.
                                                                                          20   Williams, et al., Case No. 1:16-cr-00436-KMW (S.D.N.Y.), Dkt. 1 at ¶16.)
                                                                                          21   Plaintiffs are informed and believe and based thereon allege that the law firm
                                                                                          22   referenced in the Indictment is CBV, and the joint account referenced in the
                                                                                          23   Indictment is the Chase Luxe One bank account located in Los Angeles.
                                                                                          24              41.   A significant amount of the funds CBV and Vuckovich received was
                                                                                          25   parked with CBV or Vuckovich until later withdrawn from CBV’s purported client
                                                                                          26   trust account, and then funneled to others, such as the Hollywood talent agent
                                                                                          27   Manashil who, like CBV and Vuckovich, conspired with, aided and abetted
                                                                                          28   Williams and Brown in carrying out their scheme. There were several of these
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                                                                                           1   fraudulent “pass through” transfers, which occurred over the course of more than
                                                                                           2   one year, beginning after the first of the four above-alleged film investment scams.
                                                                                           3              42.   Plaintiffs are informed and believe, and on that basis allege, that a
                                                                                           4   primary goal of these pass through transfers was to conceal the illegitimate origins
                                                                                           5   of the fraudulently obtained funds, as well as the fact and the fraudulent nature of
                                                                                           6   the transfers to the co-conspirator-transferees, with the cloak of a purported
                                                                                           7   attorney-client relationship and privilege, and to otherwise avoid disclosure and
                                                                                           8   regulations applicable to financial institutions. Plaintiffs are informed and believe,
                                                                                           9   and on that basis allege, that Defendants CBV and Vuckovich knew that the
                                                                                          10   amounts that they received were ill-gotten proceeds of fraudulent and criminal
                                                                                          11   activity, and actively assisted in the diversion of these funds. Alternatively,
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                                                                                          12   Defendants CBV and Vuckovich consciously disregarded a high probability that the
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                                                                                          13   funds they received were such ill-gotten proceeds, and continued to assist the
                                                                                          14   fraudsters’ efforts to hide and fraudulently transfer the misappropriated funds.
                                                                                          15              43.   Most, if not all, of the funds transferred to CBV and Vuckovich in
                                                                                          16   Illinois came from bank accounts located in Los Angeles and most, if not all, of the
                                                                                          17   ultimate transferees of the pass through transfers were Los Angeles residents.
                                                                                          18              44.   Plaintiffs are informed and believe, and on that basis allege, that these
                                                                                          19   fraudulent pass through transfers do not appear to have any legitimate business
                                                                                          20   purpose and were carried out primarily to conceal and further the co-conspirators’
                                                                                          21   fraud and conversion of Plaintiffs’ invested funds. A significant amount of the
                                                                                          22   fraudulently obtained investment funds CBV and Vuckovich received was given to
                                                                                          23   and retained by them in accounts that were opened to implement the fraudulent
                                                                                          24   scheme, and otherwise paid out of Los Angeles companies from their Los Angeles
                                                                                          25   banks. CBV and Vuckovich received this money in furtherance of aiding and
                                                                                          26   abetting the above-alleged fraud and conversion of Plaintiffs’ investment funds, and
                                                                                          27   not for any legitimate or bona fide rendering of professional services.
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                                                                                           1                DEFENDANTS CBV AND VUCKOVICH’S BREACHES OF
                                                                                           2                                DUTY OWED TO LUXE ONE
                                                                                           3              45.   As of April 24, 2014, Defendants CBV and Vuckovich had at least
                                                                                           4   $100,000 remaining in their purported client trust account (the “Remaining Cash”),
                                                                                           5   which they knew Brown had been deposited with CBV in the form of Chase bank
                                                                                           6   cashiers’ checks.
                                                                                           7              46.   Throughout the relevant time period, Defendants CBV and Vuckovich
                                                                                           8   represented Luxe One as its attorneys. Their representation of Los Angeles-based
                                                                                           9   Luxe One included, but was not limited to: (1) commencing an arbitration in Los
                                                                                          10   Angeles, California on Luxe One’s behalf against Big Screen Partners V, Ltd. in
                                                                                          11   June 2014 and representing Luxe One in connection with that arbitration, which
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                                                                                          12   revolved around the movie The Letters; (2) counseling Luxe One regarding
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                                                                                          13   Plaintiffs’ lawsuit filed on May 28, 2014 against certain of the co-conspirators
                                                                                          14   including Williams, Brown, Seppala and Luxe One (the Busbice I action); and (3)
                                                                                          15   negotiating potential settlements of Busbice I.
                                                                                          16              47.   By mid-June 2014, Defendants CBV and Vuckovich, as part of their
                                                                                          17   representation of Luxe One and others, received a copy of the complaint filed in
                                                                                          18   Busbice I, which contained extremely detailed allegations of the co-conspirators
                                                                                          19   fraud and conversion of the fraudulently obtained funds through accounts Brown
                                                                                          20   and Williams controlled, specifically including Chase Los Angeles bank accounts
                                                                                          21   in the name of Luxe One. Plaintiffs are informed and believe, and on that basis
                                                                                          22   allege, that by mid-June 2014, Defendants CBV and Vuckovich were in possession
                                                                                          23   of genuine Chase bank account statements for Luxe One’s accounts evidencing the
                                                                                          24   co-conspirators’ fraud and Brown’s and Williams’ fraudulent conversion of the
                                                                                          25   fraudulently obtained funds from the Luxe One accounts for their own illegitimate,
                                                                                          26   unauthorized and personal uses.
                                                                                          27              48.   On August 26, 2014, despite their knowledge of facts showing that the
                                                                                          28   Remaining Cash Brown deposited was diverted from Luxe One’s Chase bank
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                                                                                           1   account and had been fraudulently obtained from Plaintiffs, Defendants CBV and
                                                                                           2   Vuckovich intentionally, recklessly or at least negligently transferred the
                                                                                           3   Remaining Cash to Hollywood talent agent Manashil, one of the co-conspirators in
                                                                                           4   the fraudulent scheme.
                                                                                           5              49.      At the same time that Defendants CBV and Vuckovich represented
                                                                                           6   Luxe One, they also represented other persons, including, but not limited to Brown,
                                                                                           7   with interests that patently and materially conflicted with Luxe One’s interests.
                                                                                           8              50.      Defendants CBV and Vuckovich also failed to fully, timely and
                                                                                           9   properly disclose relevant information about the above-alleged scheme to defraud
                                                                                          10   Plaintiffs to Luxe One and otherwise facilitated the waste and looting of Luxe
                                                                                          11   One’s assets, causing substantial harm to Luxe One and to Plaintiffs.
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                                                                                          12              51.      Effective as of August 1, 2016, Luxe One assigned to Plaintiff
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                                                                                          13   Ollawood all of its rights, claims and causes of action, including those against CBV
                                                                                          14   and Vuckovich.
                                                                                          15                                    FIRST CLAIM FOR RELIEF
                                                                                          16              For Civil Conspiracy to Defraud and to Convert and Fraudulently
                                                                                          17                                Transfer Plaintiffs’ Investment Funds
                                                                                          18                                        (Against all Defendants)
                                                                                          19              52.      Plaintiffs repeat and incorporate herein by this reference paragraphs 1
                                                                                          20   through 51, inclusive, as if fully set forth herein.
                                                                                          21              53.      Plaintiffs are informed and believe, and on that basis allege, that the
                                                                                          22   co-conspirators and CBV and Vuckovich, and each of them, knowingly and
                                                                                          23   willfully conspired and agreed among themselves to:
                                                                                          24                    a) fraudulently induce Plaintiffs to make the above-alleged investments
                                                                                          25                       totaling $10,900,000;
                                                                                          26                    b) convert the fraudulently obtained funds for their and their co-
                                                                                          27                       conspirators’ personal use and benefit, while actively concealing the
                                                                                          28                       fraud; and
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                                                                                           1                    c) fraudulently transfer the ill-gotten proceeds out of Plaintiffs’ reach
                                                                                           2                       with the intent to hinder, delay and defraud Plaintiffs in their efforts to
                                                                                           3                       discover the fraud, recoup their investments and obtain relief.
                                                                                           4              54.      As alleged, and with CBV’s and Vuckovich’s aid and assistance, the
                                                                                           5   co-conspirators did, in fact, fraudulently induce Plaintiffs to make these
                                                                                           6   investments by intentionally misrepresenting material facts regarding the
                                                                                           7   investments; convert much of the fraudulently obtained funds for their and their co-
                                                                                           8   conspirators’ personal use and benefit; and fraudulently transfer such funds out of
                                                                                           9   Plaintiffs’ reach.
                                                                                          10              55.      Plaintiffs are informed and believe, and on that basis allege, that
                                                                                          11   Vuckovich and CBV furthered the conspiracy by, inter alia, knowingly allowing
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                                                                                          12   hundreds of thousands of dollars traceable to Plaintiffs’ investment funds to pass
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                                                                                          13   through CBV’s purported client trust account to compensate the co-conspirators for
                                                                                          14   their fraudulent dealings with the Plaintiffs so that the fact and fraudulent nature of
                                                                                          15   the transfers might be cloaked behind a purported attorney-client relationship and
                                                                                          16   privilege.
                                                                                          17              56.      As a direct and proximate result of the above-alleged conspiracy and
                                                                                          18   wrongful acts, Plaintiffs have sustained millions of dollars in damages, the exact
                                                                                          19   sum to be proven at trial, but believed to be in excess of $10,000,000.
                                                                                          20              57.      Defendants’ conduct, as herein alleged, was done willfully and with a
                                                                                          21   conscious disregard of Plaintiffs’ rights and with intent to injure, so as to constitute
                                                                                          22   oppression, fraud and/or malice under California Civil Code section 3294, entitling
                                                                                          23   Plaintiffs to punitive damages.
                                                                                          24                                   SECOND CLAIM FOR RELIEF
                                                                                          25        For Aiding and Abetting Fraud, Conversion, and Fraudulent Transfers
                                                                                          26                                        (Against all Defendants)
                                                                                          27              58.      Plaintiffs repeat and incorporate herein by this reference paragraphs 1
                                                                                          28   through 57, inclusive, as if fully set forth herein.
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                                                                                                                                   SECOND AMENDED COMPLAINT
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                                                                                           1              59.   Plaintiffs are informed and believe, and on that basis allege, that
                                                                                           2   alternatively, even if CBV and Vuckovich did not conspire as alleged, these
                                                                                           3   defendants are liable for aiding and abetting the fraud and conversion perpetrated
                                                                                           4   by the co-conspirators, because CBV and Vuckovich had knowledge of the above-
                                                                                           5   alleged conspiracy, fraud and conversion, and provided the perpetrators substantial
                                                                                           6   assistance in accomplishing the tortious result by, inter alia, allowing hundreds of
                                                                                           7   thousands of dollars traceable to Plaintiffs’ investment funds to pass through
                                                                                           8   CBV’s purported client trust account to compensate co-conspirators for their
                                                                                           9   fraudulent dealings with the Plaintiffs so that the fact and fraudulent nature of the
                                                                                          10   transfers might be cloaked behind a purported attorney-client relationship and
                                                                                          11   privilege.
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                                                                                          12              60.   Defendants’ substantial assistance furthered the perpetrators’ scheme,
                                                           I R V I N E , C A 92614-2545
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                                                                                          13   and as a direct and proximate result of defendants’ assistance, Plaintiffs have
                                                                                          14   sustained millions of dollars in damages, the exact sum to be proven at trial, but
                                                                                          15   believed to be in excess of $10,000,000.
                                                                                          16              61.   Defendants’ conduct, as herein alleged, was done willfully and with a
                                                                                          17   conscious disregard of Plaintiffs’ rights and with intent to injure, so as to constitute
                                                                                          18   oppression, fraud and/or malice under California Civil Code section 3294, entitling
                                                                                          19   Plaintiffs to punitive damages.
                                                                                          20                                 THIRD CLAIM FOR RELIEF
                                                                                          21                            For Imposition of a Constructive Trust
                                                                                          22                                     (Against all Defendants)
                                                                                          23              62.   Plaintiffs repeat and incorporate herein by this reference paragraphs 1
                                                                                          24   through 61, inclusive, as if fully set forth herein.
                                                                                          25              63.   As alleged, the co-conspirators, with defendants’ assistance,
                                                                                          26   fraudulently induced Plaintiffs to transfer a total of $10,900,000 for certain
                                                                                          27   purported investments, by intentionally misrepresenting material facts regarding the
                                                                                          28   investments and actively concealing the truth regarding the investments and the
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                                                                                           1   unauthorized use of the investment funds, so that the co-conspirators could convert
                                                                                           2   Plaintiffs’ funds for their own unauthorized and wrongful use and enjoyment.
                                                                                           3              64.   Defendants CBV, Vuckovich and Does 1-10, and each of them,
                                                                                           4   received a part or parts of the converted funds, and/or received property or property
                                                                                           5   interests that were acquired in exchange for such funds, for no value (or de minimis
                                                                                           6   value) and/or with actual or constructive knowledge of the fraud.
                                                                                           7              65.   By virtue of the foregoing, CBV, Vuckovich and Does 1-10 hold the
                                                                                           8   funds, property and/or property interests so received by them, and all assets,
                                                                                           9   property and/or property interests received in exchange for any part of such funds,
                                                                                          10   property and/or property interests, as a constructive trustee for Plaintiffs’ benefit.
                                                                                          11                                FOURTH CLAIM FOR RELIEF
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                                                                                          12                                          For Negligence
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                                                                                          13                                     (Against all Defendants)
                                                                                          14              66.   Plaintiffs repeat and incorporate herein by this reference paragraphs 1
                                                                                          15   through 65, inclusive, as if fully set forth herein.
                                                                                          16              67.   Throughout the relevant time period, defendants agreed to represent,
                                                                                          17   and began representing, Los Angeles-based Luxe One as its attorneys. Such
                                                                                          18   representation included, but was not limited to: (1) commencing arbitration in Los
                                                                                          19   Angeles on Luxe One’s behalf against Big Screen Partners V, Ltd. in June 2014 and
                                                                                          20   representing Luxe One in connection with that arbitration related to The Letters; (2)
                                                                                          21   counseling Luxe One regarding the Busbice I action; and (3) negotiating potential
                                                                                          22   settlements of the Busbice I action.
                                                                                          23              68.   By virtue of and through that representation, defendants owed Luxe
                                                                                          24   One ordinary duties of care and professional duties of care, skill and loyalty.
                                                                                          25              69.   Plaintiffs are informed and believe, and on that basis allege, that at all
                                                                                          26   times thereafter, defendants breached those duties and failed to exercise reasonable
                                                                                          27   care by, among other things: (i) transferring the Remaining Cash to co-conspirators
                                                                                          28   in the above-alleged scheme to defraud Plaintiffs, despite knowledge of facts
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                                                                                           1   showing that the Remaining Cash was removed from Luxe One’s Chase bank
                                                                                           2   account and had been fraudulently obtained from Plaintiffs; (ii) representing other
                                                                                           3   persons with interests that patently and materially conflicted with Luxe One’s
                                                                                           4   interests at the same time as they represented Luxe One; and (iii) failing to fully,
                                                                                           5   timely and properly disclose to Luxe One relevant information about the above-
                                                                                           6   alleged scheme to defraud Plaintiffs.
                                                                                           7              70.   As a direct and proximate result of the above-alleged acts and
                                                                                           8   omissions, Luxe One and Plaintiffs sustained substantial damages in excess of
                                                                                           9   $100,000, the exact amount to be proven at trial.
                                                                                          10              71.   As hereinabove alleged, Luxe One has assigned this and all other of its
                                                                                          11   claims and causes of action to Plaintiff Ollawood, and Ollawood brings this cause
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                                                                                          12   of action as Luxe One’s assignee.
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                                                                                          13                                 FIFTH CLAIM FOR RELIEF
                                                                                          14                                 For Breach of Fiduciary Duty
                                                                                          15                                     (Against all Defendants)
                                                                                          16              72.   Plaintiffs repeat and incorporate herein by this reference paragraphs 1
                                                                                          17   through 71, inclusive, as if fully set forth herein.
                                                                                          18              73.   Throughout the relevant time period, defendants CBV and Vuckovich
                                                                                          19   agreed to represent, and began representing, Luxe One as its attorneys.
                                                                                          20              74.   By virtue of and through that representation, defendants CBV and
                                                                                          21   Vuckovich were fiduciaries of Luxe One and owed it the highest duty of good faith,
                                                                                          22   due care and loyalty.
                                                                                          23              75.   Plaintiffs are informed and believe, and on that basis allege, that by the
                                                                                          24   acts and omissions alleged herein, defendants CBV and Vuckovich breached that
                                                                                          25   fiduciary duty by, among other things: (i) transferring the Remaining Cash to co-
                                                                                          26   conspirators in the above-alleged scheme to defraud Plaintiffs, despite knowledge
                                                                                          27   of facts showing that the Remaining Cash was removed from Luxe One’s Chase
                                                                                          28   bank account and had been fraudulently obtained from Plaintiffs; (ii) representing
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                                                                                           1   other persons with interests that patently and materially conflicted with Luxe One’s
                                                                                           2   interests at the same time as they represented Luxe One; and (iii) failing to fully,
                                                                                           3   timely and properly disclose to Luxe One relevant information about the above-
                                                                                           4   alleged scheme to defraud Plaintiffs.
                                                                                           5              76.   As a direct and proximate result of the above-alleged acts and
                                                                                           6   omissions, Luxe One and Plaintiffs sustained substantial damages in an amount to
                                                                                           7   be proven at trial.
                                                                                           8              77.   Defendants CBV and Vuckovich’s conduct, as herein alleged, was
                                                                                           9   done willfully and with a conscious disregard of Plaintiffs’ and Luxe One’s rights
                                                                                          10   and with intent to injure, so as to constitute oppression, fraud and/or malice under
                                                                                          11   California Civil Code section 3294, entitling Plaintiffs to punitive damages.
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                                                                                          12              78.   As hereinabove alleged, Luxe One has assigned this and all other of its
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                                                                                          13   claims and causes of action to Plaintiff Ollawood, and Ollawood brings this cause
                                                                                          14   of action as Luxe One’s assignee.
                                                                                          15                                    PRAYER FOR RELIEF
                                                                                          16              WHEREFORE, Plaintiffs pray for judgment, as follows:
                                                                                          17                                 FIRST CLAIM FOR RELIEF
                                                                                          18              1.    For compensatory damages in an amount to be proven at trial, but
                                                                                          19   believed to be in excess of $10,000,000;
                                                                                          20              2.    For exemplary or punitive damages in an amount to be proven at trial;
                                                                                          21              3.    For costs and expenses incurred in this litigation; and
                                                                                          22              4.    For such other and further relief as this Court deems just and proper.
                                                                                          23                               SECOND CLAIM FOR RELIEF
                                                                                          24              5.    For compensatory damages in an amount to be proven at trial, but
                                                                                          25   believed to be in excess of $10,000,000;
                                                                                          26              6.    For exemplary or punitive damages in an amount to be proven at trial;
                                                                                          27              7.    For costs and expenses incurred in this litigation; and
                                                                                          28              8.    For such other and further relief as this Court deems just and proper.
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                                                                                           1                                 THIRD CLAIM FOR RELIEF
                                                                                           2              9.    For imposition of a constructive trust on all funds and property
                                                                                           3   received by defendants CBV and Vuckovich derived, directly or indirectly, from
                                                                                           4   the moneys invested by Plaintiffs, and on any and all proceeds, assets, property
                                                                                           5   and/or other property interests received or acquired by CBV and Vuckovich from
                                                                                           6   any use or transfer of such property and amounts;
                                                                                           7              10.   For costs and expenses incurred in this litigation; and
                                                                                           8              11.   For such other and further relief as this Court deems just and proper.
                                                                                           9                               FOURTH CLAIM FOR RELIEF
                                                                                          10              12.   For compensatory damages in an amount to be proven at trial;
                                                                                          11              13.   For costs and expenses incurred in this litigation; and
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                                                                                          12              14.   For such other and further relief as this Court deems just and proper.
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                                                                                          13                                 FIFTH CLAIM FOR RELIEF
                                                                                          14              15.   For compensatory damages in an amount to be proven at trial;
                                                                                          15              16.   For exemplary or punitive damages in an amount to be proven at trial;
                                                                                          16              17.   For costs and expenses incurred in this litigation; and
                                                                                          17              18.   For such other and further relief as this Court deems just and proper.
                                                                                          18
                                                                                               Dated: January 9, 2017                          TROUTMAN SANDERS LLP
                                                                                          19
                                                                                          20
                                                                                                                                               By: /s/ Paul L. Gale
                                                                                          21                                                     Paul L. Gale
                                                                                                                                                 Edward S. Kim
                                                                                          22                                                     Lauren Shaw Grochow
                                                                                          23                                                        Attorneys for Plaintiffs
                                                                                                                                                    BILL A. BUSBICE, JR.,
                                                                                          24                                                        OLLAWOOD PRODUCTIONS,
                                                                                                                                                    LLC, and ECIBSUB, LLC
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                                                                                           1                                         JURY DEMAND
                                                                                           2              Plaintiffs demand trial by jury on all issues and claims so triable.
                                                                                           3
                                                                                           4   Dated: January 9, 2017                           TROUTMAN SANDERS LLP
                                                                                           5
                                                                                           6                                                    By: /s/ Paul L. Gale
                                                                                                                                                  Paul L. Gale
                                                                                           7                                                      Edward S. Kim
                                                                                                                                                  Lauren Shaw Grochow
                                                                                           8
                                                                                                                                                     Attorneys for Plaintiffs
                                                                                           9                                                         BILL A. BUSBICE, JR.,
                                                                                                                                                     OLLAWOOD PRODUCTIONS,
                                                                                          10                                                         LLC, and ECIBSUB, LLC
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